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                           UNITED STATES DISTRICT COURT
                      FOR THE EASTER DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL LEAGUE                               |        No. 2:12-md-02323-AB
PLAYERS’ CONCUSSION INJURY                                    |        MDL No. 2323
LITIGATION                                                    |


    MOTION TO DISCIPLINE OR DISMISS SPECIAL MASTERS AND AUDITORS

        Undersigned counsel, pursuant to Cannon 3.C (1) of the Code of Judicial Conduct, Rule

53, Federal Rules of Civil Procedure, U.S. Supreme Court precedent, Title IV, Rule 8, Rules

Governing the Audit of Claims—Standards of Proof Applicable to Special Master, hereby moves

this Court to either discipline or remove the auditors and Special Masters for violation of due

process, standards of impartiality and objectivity, and un-refutable evidence of bias and

appearance of potential bias in their operations and investigations.1 As grounds therefore,

undersigned states as follows:

                             MEMORANDUM ON LEGAL STANDARD

        NFL claims investigators, auditors and Special Masters have a heightened standard of

review and are to serve as the objective eyes and ears of the Court. When they fail to do so, they

are appropriately dismissed. Cannon 3.C (1) of the Code of Judicial Conduct; Rule 53, Federal

Rules of Civil Procedure. See Cordoza v. Pac. States Steel Corp., 320 F.3d 989 (9th Cir. 2003)

(Special master failed to accomplish the primary goal assigned, used his position to advance his

professional and economic interests, and overbilled. Special master dismissed by the federal

judge); Hofmann v. EMI Resorts, Inc., 689 F. Supp. 2d 1361, 1373, 1375 (S.D. Fla. 2010)

(“Having carefully considered the contents of the Report and Defendants' arguments, I agree that




1
  Index of sworn and indisputable evidence documenting bias, and the appearance of potential bias, attached hereto,
is found on page 39.



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the Special Master's "impartiality might reasonably be questioned" and that he should therefore

be disqualified from performing "judicial functions" in connection with these proceedings as a

Special Master.”); In re Murchison, 349 U.S. 122 (1955) see also Taylor v. Hayes, 418 U.S. 488,

501 (1974) (“The inquiry must be not only whether there was actual bias on [the judge or special

master’s] part, but also whether there was ‘such a likelihood of bias or an appearance of bias that

the judge was unable to hold the balance between vindicating the interests of the court and the

interests of the accused.” Quoting Ungar v. Sarafite, 376 U.S. 575, 588 (1964)).

         Regardless of whether there is “actual” or “potential” bias, if either exist, or if there is

even the “appearance” of bias, the investigators, auditors and Special Masters must not have any

bias—potential, perceived or actual.2 Under the law, even the appearance of “potential” bias

warrants dismissal. Hoffman, Murchison, supra.

                                   CORE UNCONTROVERTED BIAS

         The auditor and Special Master bias is glaring. They interpret “non-communication” for

“non-filed” claims as “a misrepresentation, omission, or concealment of a material fact made.”

If one doesn’t communicate, doesn’t take an action, and doesn’t file a claim, one is not

communicating. How can one non-communicate “a misrepresentation, omission, or concealment

of a material fact”? Is this a violation of thought and intent that doesn’t exist in reality but

interpolated telepathically?

         Use of in-house attorney work product medical evaluations and education efforts, found

to be largely accurate, protected under attorney work product privilege, never submitted to the



2
  What is concerning is that the Special Masters on January 22, 2021, issued a ruling directing harm to various
parties without having the facts presented, without communicating or requesting a response from the injured parties,
in violation of the claim administration rules regulating investigations, in violation of the ethical standards for
investigations, and adopting demonstrably false findings. This indicates bias and the appearance of “potential” bias.
The consequences of this bias are clear--dismissal. Hoffman, Murchison, supra.




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NFL Claims, explicitly not for use in any claim submission, not qualified for any claim

submission, and in fact never used in any claim simply cannot be a “misrepresentation, omission,

or concealment of a material fact made.” That is unless non-existent telepathically interpolated

evidence is now the standard applied by the Courts of the United States.

                                STANDARDS FOR INVESTIGATIONS

         Beyond the Code of Judicial Conduct, Federal Rules of Civil Procedure, U.S. Supreme

Court precedent, the Audit Report and investigation is explicitly ethically and morally required

to comply with Quality Standards for Investigations,3and 4 it fails to do so. The Special Masters

and those that have followed or adopted this failing effort had an opportunity to see and

understand these failures, improve investigations and Audit Reports and require compliance with

Quality Standards for Investigations. They rejected this opportunity and intentionally chose not

to. What are these quality standards for? To find the truth. Core standards for investigations and

investigative organizations to find the truth are as follows:

                  In all matters relating to investigative work, the investigative
                  organization must be free, both in fact and appearance, from
                  impairments to independence; must be organizational
                  independent; and must maintain an independent attitude.

         Personal Impairments—Circumstances may occur in which an investigator may
         experience difficulty in achieving impartiality because of their views and/or
         personal situations and relationships. These impairments include the following:


3
 Quality Standards for Investigations, Council of Inspectors General on Integrity and Efficiency, November 15,
2011, pp. 6-17, A-1.

4
  The Council of the Inspectors General on Integrity and Efficiency oversees all Inspectors General for the United
States, including the Offices of the Inspector General for the Department of Justice and its FBI. This is to ensure the
integrity and effectiveness of U.S. Department of Justice operations and investigations, which were abused by the
FBI and J. Edgar Hoover from 1935 to 1972, and much of this investigative abuse is documented in the Church
Committee’s 1976 findings. See Special Report, 2005, Office of Inspector General, The Federal Bureau of
Investigation’s Compliance with the Attorney’s General Investigative Guidelines. Exhibit B, pp. 1-7 (including not
investigating evidence casting doubt on principal informants, that criminal activity be “clear and unambiguous was
not only ignored but apparently violated”, “incomplete and misleading information”, failure to “challenge or test the
sufficiency and accuracy of information” and more). If attorneys for the U.S. Department of Justice are included,
the U.S Department of Justice Office of Professional Development will assist in addressing.



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         1. Official, professional, personal, or financial relationships that might affect the
         extent of the inquiry; limit disclosure of information; or weaken the investigative
         work in any way;
         2. Preconceived opinions of individuals, groups, organizations or objectives of a
         particular program that could bias the investigation;
         3. Previous involvement in a decisionmaking or management capacity that would
         affect current operations of the entity or program being investigated;
         4. Biases, including those induced by political or social convictions that result
         from employment in, or loyalty to, a particular group or organization;
         ...

                  Due professional care must be used in conducting investigations
                  and in preparing related reports.

         Legal Requirements--. . .Investigations should be conducted with due respect for
         the rights and privacy of those involved.

         Impartiality—All investigations must be conducted in a fair and equitable
         manner, with the perseverance necessary to determine the facts.

         Objectivity—Evidence must be gathered and reported in an unbiased and
         independent manner in an effort to determine the validity of an allegation or to
         resolve an issue. This includes inculpatory and exculpatory information.

         Ethics—At all times, the actions of the investigator and the investigative
         organization must conform with all applicable standards of ethical conduct.

                  Investigations must be conducted in a timely, efficient, thorough,
                  and objective manner.

         The investigator is a fact-gatherer and should not allow conjecture,
         unsubstantiated opinion, bias, or personal observations or conclusions to affect
         work assignments. He or she also has a duty to be receptive to evidence that is
         exculpatory, as well as incriminating.

                  Reports (oral and written) must thoroughly address all relevant
                  aspects of the investigation and be accurate, clear, complete,
                  concise, logically organized, timely, and objective.5

5
 “Objectivity” is an understanding of reality. It has metaphysics and epistemology components, mental constructs,
and dependence on social structures and world views. Objectivity in investigations can be easily distorted without
discipline and Quality Standards for Investigations, and reality can be lost in bias abstractions. Then the telepathic
shadows take over.

This is what has taken place in this investigation. Notwithstanding the investigation’s collapse into bias and abstract
shadows, in this case the shadows and abstractions of the Tipster are exposed by reality. As noted by Philosopher
and Theologian, C.S. Lewis, “reality is harsh to the feet of shadows.” Philosopher George Wilhelm Friedrich Hegel



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         Reports should contain exculpatory evidence and relevant mitigating information
         when discovered during any administrative investigation. Exculpatory evidence
         in a criminal or civil investigation must be brought to the attention of the assigned
         prosecutor.

                  Investigative data must be stored in a manner that allows effective
                  retrieval, reference, and analysis, while ensuring the protection of
                  sensitive data (i.e., personally identifiable, confidential,
                  proprietary, or privileged information or materials).

         Investigative File—All investigative activity, both exculpatory and
         incriminating, should be recorded in an official case file.

         Ensuring that sensitive information is protected.

         Know evidentiary rules.
         Assess progress and re-focus when necessary.
         Review and understand information gathered.
         Write draft report—ensure accuracy, thoroughness, objectivity, proper format,
         clarity and correct grammar.

Quality Standards for Investigations, Council of Inspectors General on Integrity and Efficiency,

November 15, 2011, pp. 6-17, A-1 (emphasis added).

         To find the “truth” in an investigation, Quality Standards for Investigations require that

an investigation must be objective, unbiased, weigh the sources of the allegations, challenge and

test the information alleged, use exculpatory evidence, know evidentiary rules, weigh the source

of the information, and re-focus the investigative lens when evidence shows re-focus is needed.

Special Masters, as are all investigative oversight entities, are to enforce and require application

of these standards and this is their opportunity to do so. To comply with the Quality Standards

for Investigations in finding the “truth” the investigator and Special Masters must have



points out the damage in following the bias of abstractions, “to make abstractions hold in reality is to destroy
reality.” The shadows of this investigation and Audit Report now have to deal with harsh reality. The bias
abstractions spewed by criminals and extortionists and adopted by the investigators and Audit Report is a telepathic
shadow trying to obfuscate the reality of the Tipster, conspirators, extortionists crimes, legal opportunist bottom
feeders, and baseless allegations, and the reality of not only extensive exculpatory evidence, but no conceivable
violation of any rule or regulation.



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knowledge of the Quality Standards for Investigations and history of investigative abuse,

courage, integrity, spirit, and intellectual and staffing skills to take on bias in the investigation,

including from informants, testing the source and sufficiency of evidence, as well as the bias in

the institution and bias goals of the community engaged with the institution. It is not an advocacy

exercise in use of telepathic logic, rather an exercise in finding truth.

          In this four-year exercise in learning to do quality investigations, the first draft is a near

failure. The Audit Report is a near failure because of the lack of following Quality Standards for

Investigations, lack of objectivity, bias, incapacity to investigate and challenged or even consider

the agendas and sources of information, failure to apply exculpatory evidence, failure to re-focus

the investigation as evidence and its sources were investigated, and failure to apply ethics and

evidentiary standards. These failures rooted in bias perverted truth into a demonstrably false

report.

          Despite the investigators sharing this failing Audit Report with other investigating

authorities prior to the Special Masters making a determination on this investigation as required

by Title IV, Rule 27 and Rule 30; and prior to ever informing Respondent that it was under audit

or providing a copy of this Audit Report to him, the Special Masters had an opportunity to

receive or review accurate evidence, or to ensure an investigation that complied with Quality

Standards for Investigations. They have chosen not to comply with these standards and have

chosen to follow bias and violation of the investigative standards established by this Court. The

Audit Report is wholly and completely inaccurate, unreliable, irrelevant, violative of

investigative standards, and the evidence found in the investigation in fact demonstrates that no

claims submission standard was violated.6


6
 There is no misrepresentation, omission or concealment of material fact. There cannot be such violations in
protected attorney client work product merely working in-house with staff and in-house experts. There were



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FIRST EXEMPLAR OF INVESTIGATIVE AND AUDIT FAILURE DUE TO BIAS AND
                      LACK OF OBJECTIVITY

         This Audit Report and the underlying investigation fail in almost every respect. As a

preliminary exemplar of the failures, consider the following simple, knowingly and easily

verifiable false statement, concerning an irrelevant and non-related and non-informed target of

the investigation, from the Audit Report:

         “Sharon Delaney accompanied                   (SPID                                ) to his
         neurological examination and pretended to be his wife.”

         Audit Report, p. 3 (emphasis added). NFL Counsel jumped on this knowingly and easily

verifiable false statement seeking her disqualification from the program:

         For example, The Claims Administrator’s investigation uncovered that an “NFL
         Claims Specialist” at a claims preparation company (“S.D.”) accompanied a class
         member to a neuropsychogical evaluation and “pretended to be his wife.” (Id. at
         3). Such clear and obvious fraud cannot be excused in this Settlement Program.
         The NFL Parties respectfully request that the Special Masters conduct an audit
         report . . . which if substantiated would undoubtedly call for both S.D. and the
         Settlement Class Member (                      to be disqualified from the
         program.”

NFL Parties’ Statement of Position and Recommendation on the Claims Administrator’s Audit

Report on Howard & Associates, P.A., and Related Parties, p. 2.

         The distorted lens against Sharon Delaney is verified from our investigation of this

unknown target, as this firm had never spoken with this person and had no relationship with

Sharon Delaney prior to this false allegation. From our investigation, we received the facts from




no submissions of any document of this Howard & Associates protected attorney work-product pre-claim
education process for the purposes of claims submissions. This is because the firm, its staff, its independent
contractors, and its experts, as part of its attorney work product privilege, were learning the process, which process
had not crystalized and was not finalized. The firm had not reviewed, nor finalized, nor prepared any claim for
submission, nor has been paid for its submission of any claim. The firm has not had access to even view electronic
files of clients from late 2019 until recently due to machinations by the Shenaq, PC., firm.




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an accurate lens, which shows that the                     2018 evaluation by Dr. Wisdom specifically

states:

            “Mr.       was on time for his appointment and was accompanied by an
           assistant which the examiner mistakenly thought was his wife for the
           beginning of the exam.”

Neuropsychology Wisdom, PLLC, Independent Medical Examination,                                                  dated

            2018 (emphasis added). There is no evidence contrary to this. In fact, the undisputed

affidavit of Sharon Delaney, attached, documents both the legitimacy of her actions and the

illegitimacy of the sources of this ugly claim.7 This unrefuted and documented evidence verifies

schemes to manipulate and bias the investigative and audit process towards intentional and

proven fraudulent outcomes and goals.

           Somehow the investigator, who looks to be Brown & Greer Attorney Roma Petkouskas,

and NFL Counsel aligned, with the support of the Special Masters, on this innocuous error by

Dr. Wisdom’s examiner, not Sharon Delaney, and this error was intentionally portrayed as

corrupt by a competitor (similar to Don Reinhard’s extortion campaign against undersigned with

corrupt allies) and the Special Masters adopted their interpretation of these facts as Sharon

Delaney impersonating a wife. The Special Masters had the opportunity to correct this glaring

error and the many others found in this suspect, illogical and deeply flawed investigation, yet

intentionally with glaring bias, chose to do nothing.




7
    At the end of her unrefuted affidavit, documenting the source and manipulation of the auditor, she states:

           These unconscionable twists of words, and adoption thereof by the auditors, needs to be audited
           and investigated in and of itself by Federal authorities as it unequivocally demonstrates and
           intentional corruption of the audit process and complicity between the auditors and those
           threatened by my services. If there is any validity to this audit process th[e]n these allegations
           must be dropped immediately.



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        Notwithstanding this glaring bias and intentional distortion and manipulation, NFL

Counsel, the auditor and Special Masters violate basic investigative standards that NFL Counsel

disturbingly states are irrelevant, and continues down this logical, fallacious, ad hominem path

that violates investigative standards and undisputed evidence. This is a duplicitous and unseemly

scheme to justify not paying retired NFL players nor to permit continuing work by those that do

an excellent job assisting them. (NFL Counsel Reply, April 5, 2021, p. 5, fn. 5). Where is the

source of this actual bias? The sworn affidavit of Sharon Delany lays this out and the evidence

of the auditor’s bias is undisputed. The blatant distortion here at a minimum demonstrates the

appearance of “potential” bias and such would warrant dismissal of the investigators and Special

Masters. Hoffman, Murchison, supra.

        Obvious questions from any objective investigation and lens to expose bias are as

follows: Did those threatened by Sharon Delaney’s effective work and advocacy for NFL

claimants manipulate the investigators because of the bias and lack of objectivity of investigators

and provide this distorted information in order for the investigators to do their bidding and

impugn the character and integrity of Sharon Delaney. Was this done because she was effective

and a threat to law firm competitors?8 Demonstrating explicit bias, the Special Masters

intentionally avoid asking such obvious questions.

        Consistent with the distorted lens and failure to seek truth and follow Quality Standards

for Investigations found in this entire investigation, the investigators and Audit Report got it

wrong. The investigators and Special Masters are not applying their lens to see how they are




8
 Similarly, why is Collins & Truett, an independent law firm owned and controlled by a 71-year-old attorney with a
spotless record involved in this Audit Report? NFL Clients can choose any counsel they want and as far as
Respondent is aware from its investigation, Collins & Truett has not been alleged or claimed to be involved in any
untoward activity of any type. Whose agenda is being advanced by their reference in this Audit Report?




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being manipulated to adopt bias and agendas by the institution, persons and groups. In this case

it would be competing law firms and the NFL, neither of which want this effective advocate for

NFL Clients, in Ms. Delaney, and are using the audit process as their bottom feeder destructive

advocacy tool, not for truth.

    NEXT EXEMPLAR OF INVESTIGATIVE AND AUDIT FAILURE DUE TO BIAS,
       LACK OF OBJECTIVITY AND FAILURE TO COMPLY WITH LOGIC,
                 EVIDENTIARY AND ETHICS STANDARDS

         The investigators, auditors and Special Masters know that Howard & Associates never

filed a claim, never communicated anything related to the submission of any claim to the claims

facility, and never used, nor could use, nor intended to use, its attorney work product education

nor in-house experts9 and staff for any claim submission. Rather this work was applied as part of

its in-house attorney work product strategic leadership in learning and testing “potential”

claims.10 Demonstrating the bias, lack of objectivity, failure to comply with evidentiary and

ethics standards, and refusal to re-focus the investigation, the Audit Report as a grounding and

conclusive evidentiary position specifically states:

      “Howard did not file any claims for claimants he represented on the NFL Portal.”

9
  There is a difference between a consulting in-house expert for attorney work product and mock trials, verses a
testimonial expert for trial or claims submission purposes. A law firm can have any type of communication with a
consulting expert or in a mock trial that is part of the law firm’s educational attorney work product. None of the
consulting in-house expert and protected attorney work product was ever used to testify or submit for a trial or
claims submission. Howard & Associates never authorized any consulting in-house expert, protected attorney work
product to be submitted as an NFL Claim, and this protected attorney work product never was.
10
   The protected in-house attorney work product educational operation, like a mock trial, used to determine the
competence and capacity of both staff and in-house experts in their efforts, as part of the attorney work product
effort for NFL Claims submissions were never used for filing claims, never communicated in any fashion with the
claims facility, but only as education. As a J.D., Ph.D., that has engaged in mock trials, Dr. Howard taught
constitutional law, civil liberties law and Presidential leadership at Boston University, directed and advised on
nearly 100 doctoral theses, trained nearly 100 doctorates, and taught graduate students in nearly every place on the
globe, like a draft dissertation, this is a standard educational, institutional and military technique to validate gaps in
operations, improve quality and avoid harm. As Dr. Howard learned at Harvard from General Petraeus’ lessons in
Iraq, addressing strategic leadership, “get the big picture right” and “understand mistakes of your team.” Once the
flaws of both staff and experts were understood, by the early Spring of 2018, nearly three years ago, the firm got the
big picture right, understood the mistakes of experts and staff, and with this knowledge engaged in a more effective
approach for NFL Claims submission compliance.




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Audit Report, p. 49. The in-house attorney staff and expert work for clients used for education

and operations testing, “not for” the filing claims, are protected attorney work product privilege.

See Florida Rule of Civil Procedure 1.280(b)(3) (“documents and other tangible things . . .

prepared in anticipation of [submission of client claims].”).11

         After paying nearly $1 million for in-house medical evaluations, and nearly $3 million

for each and every testing by the Shenaq, PC., Howard & Associate’s instructions to the Shenaq,

PC’s was to file a claim if, and only if, the client met the claims standards through a qualifying

diagnosis. The payment of these $3 million in costs and providing protected attorney work

product experience and education to Shenaq, PC., was not for Shenaq, PC. to scheme with the

investigators and other opportunists and accelerate the bias in interpretation of the facts in order

to take the benefits of that $3 million invested. Moreover, as to the quality of the testing that

Howard & Associates paid the $3 million for, once it knew the proper methods and capacities of

experts and staff, there has been no objection or concern as to any claim filed by Shenaq, PC.

paid for by Howard & Associates, with its attorney work product used as historical information,

never to be submitted as part or in support of a claim, even if mistakenly included by Shenaq,

PC, in one claim, and none are discussed in the Audit Report. 12


11
   The primary policy objective of the work-product doctrine is to preserve the effective assistance of attorneys and
others employed to help prepare a claim for submission. Maintaining the privacy of communications between
client, attorney, staff for the attorney, consultants, and in-house medical experts in preparing for claims submissions
fosters the effectiveness of legal assistance upon which the adversarial system of justice depends. This law firm has
not intentionally or unintentionally waived either its fact or opinion work product privilege by staff or its in-house
experts. The discovery from third-party litigation or investigations were all submitted with explicit protections of
attorney work product and they were not authorized nor permitted to provide or waive work product privilege in any
fashion.
12
   The Audit Report commits a logical fallacy and severe error when it conflates protected in-house attorney work
product medical evaluation efforts that were never intended nor ever shared with the claims facility, with ultimate
claims submissions and communications with the claims facility. The law firm determines when and if anything
is communicated with the claim facility and if and when communications and documents are submitted for
claims. The law firm never found the protected attorney work product medical evaluation efforts discussed
in the Audit Report to be compliant and sufficient for submission, and consequently never submitted these



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         The Audit Report’s bias is glaring and is demonstrated in its own language. The Audit

Report and even the Special Masters’ Rule 18 Decision use the term “potential” as their standard

for violations.13 There is no “potential” to communicate. There is only “actual” communication.




records for the claim submission itself, and never communicated with the claim facility concerning any claim
submission, ever. Thus, there can be no misrepresentation, concealment, or omission.

This Audit Report’s logical fallacy is using attorney work-product medical evaluation educational drafts as
final and as communications with the claims facility, when it “knows” they are “not” final and no
communication with the claims facility ever took place. The draft paper maybe a “D-” because it is a draft.
Grading is based on the final, not the draft. These drafts were never submitted by Howard & Associates, and the
claims that were submitted by its partner firm, with more experience, Shenaq, PC., were compliant. The final
submissions were an “A”, and no fault is found in them.

Unfortunately, this Audit Report itself is “actual” and “final”. As a J.D., Ph.D., Professor Howard, with course work
at Oxford and Harvard Law School, that has trained nearly 100 doctorates at Northeastern University, ranging from
FBI, CIA, Judges, Attorneys, Harvard Doctoral Professors, University Presidents, Elected Officials, with Chief
Supreme Court Justice, U.S. Senators, Attorneys General, and distinguished national Ph.D., faculty, in Law &
Policy, grades this Audit Report a “D -”. It is not an “F” because some data work was done, but totally failed to
seek or try to find the ”truth” in the investigation, due to bias, lack of training, skills or capacity, and being
institutionally coopted by those manipulating and feeding on this lack of understanding reality through
incompetence and co-dependence for their identity, status, and institutional and economic security. It has violated
nearly every standard including but not limited to not investigating evidence casting doubt on principal informants,
that claimed violative activity be “clear and unambiguous was not only ignored but apparently violated”,
“incomplete and misleading information”, failure to “challenge or test the sufficiency and accuracy of information”
and more. Fortunately, the Special Masters have an opportunity to correct this flawed investigation and Audit
Report.

If Howard’s doctoral students would have presented this “final” and “actual” Audit Report, he would have given it a
D- because of the fallacious logical structure and the obdurate and bias lens in the face of obvious exculpatory
evidence, renders the Audit Report a near failure. The Audit Report also raises concerns as to conspiracy and
collusion to bias and distort the NFL Claims process to benefit third parties, including the NFL, and their agendas.
If this was a “draft” Howard would expect the doctoral student to submit the “re-worked” next draft addressing its
bias and failure to comply with Quality Standards for Investigations, and constructively use this review for an
intelligent and objective accurately focused investigation and report, and future sound thinking and application. The
Special Masters can now correct these errors.
13
   The Special Masters had a chance to correct the absorbed the bias, distorted lens, and failure to apply exculpatory
evidence, that the investigator applied in its Audit Report. They have chosen not to. While the Rule 18 may permit
“potential” for referrals by the Special Masters, Rule 28 Standard of Proof Applicable to the Special Master rulings
requires an “actual” claim submission and an “actual” misrepresentation, omission or concealment of a material fact
made in connection with a [filed] claim by the Settlement Class Member. Thus, there can be no violation for a claim
that was never filed and never used protected in-house attorney work product. Nor can there be intent for
misrepresentation, omission or concealment of a material fact made in connection with a claim filed by a SCM when
the instructions from Howard & Associates to its co-counsel are specifically instructed “not” to use any of its in-
house medical exams and education attorney work product by in-house experts and staff used to learn about claims,
“not” for use in any claim submission for any SCM, and in fact “none were used as the basis for any claim.” Audit
Report, p. 14.




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There can be no misrepresentation, omission or concealment if there no communication. This

alone is a violation of Quality Standards for Investigations.

        “Potential” is defined by Meriam Webster as “existing in possibility: capable of

development into actuality; expressing possibility.” The opposite or antonym of potential is

“actual, existent, factual, real.” What the use of “potential’ in this Audit Report and Special

Master’s Rule 18 Decision on Report of Adverse Finding Regarding Howard & Associates and

Related Parties, without ever communicating with Howard & Associates concerning this audit, is

that the violations are not “actual, existent, factual [or]real.” What the investigator missed due to

their lens being perverted is that the word “potential” means that it did not happen. “Potential”

does not mean “actual.”14 In the words of Hall of Fame NFL Head Coach Bill Parcells,

“Potential means you haven’t done anything yet.”

        Every attorney work product activity, indeed the activity of every human being and every

institution at any given moment, has the “potential” to do harm, even murder. We all have the

potential to communicate hello, but if we don’t see the person, and don’t say hello, we are not

saying hello. This Audit Report without ever questioning or hearing from Howard &

Associates and never informing the law firm it is under audit, is not “potential” but is

“actual, existent, factual, real” and demonstrates that its potential for bias, lack of

objectivity, manipulation by persons, criminal informants, failure to investigate the

agendas and credibility of sources, institutions, and organizations, violation of ethics,

inability to refocus its lens, and violation of the Code of Judicial Conduct, Federal Rules of



14
  The Audit Report states that the “Appeals Advisory Panel should ignore any Howard related provider records
when assessing claims.” Id. That is obvious. The AAP should ignore these records as none of these records were
for claims submissions and were protected attorney work product privilege that were never submitted nor authorized
for submission by Howard & Associates.




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Civil Procedure, U.S. Supreme Court precedent, and Quality Standards for Investigations

are now confirmed as actual and “real”.

       The entire Audit Report relies on this non sequitur due to its bias lens and failure to

objectively and independently look at the evidence in context nor discuss the context with the

target of the investigation. This distorted lens is the root of this investigation and Audit Report.

It is a non sequitur to state that no claim was ever filed yet argue that there were

misrepresentations, omissions, or concealment of material facts made in communications to the

claims facility, which is based on claims being filed for payment. It is a physical impossibility.

Non-filed and non-authorized attorney work product privileged documents, in-house medical

evaluations and communications that were never used, nor intended for use, specifically

instructed by counsel not to use, and were not ever to be filed for any claim or submission.

       Consistent with the non sequitur of “potential” as being “actual”, Title IV, Rule 28 of the

Rules Governing The Audit of Claims does not apply “potential” as a Standard of Proof

Applicable to the Special Master. Rather it specifically states the Special Master will

determine whether there is a:

       reasonable basis to support a finding that there has been a misrepresentation,
       omission, or concealment of a material fact made in connection with a Claim
       [filed] by the Settlement Class Member. The Special Master also may find such
       misrepresentation, omission or concealment was intentional if the record contains
       substantial evidence of such intent.

Based on this Standard of Proof there must first be an action made in connection with a claim

“filed by” a Settlement Class Member. There can be no “misrepresentation, omission, or

concealment of a material fact” since there was no communication with the claims facility

to create a misrepresentation, omission or concealment of a material fact. That would be

an impossibility. There is no communication with the NFL Claims facility based on the in-




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house attorney work product educational efforts. No claim has been filed, or authorized to be

filed, with any omission, or concealment of a material fact, nor was any material fact on a

claim intended to be so filed. There can be no finding of intent for a “non-filed” claim or

unauthorized use of in-house attorney work product medical evaluations and staff work, as one

cannot even communicate sufficient to create a misrepresentation, omission or concealment of a

material fact unless and until there is communication with the claims facility and a claim is filed.

“Potential” means an action has not taken place. Protected attorney work product

communications and internal attorney client work product education are not “actual” claims.

Especially when never submitted.

       Thus, the Audit Report’s bias and lack of objectivity, lack of acceptance of exculpatory

evidence, lack of investigating evidence casting doubt on principal informants, that violative

activity be “clear and unambiguous was not only ignored but apparently violated”, “incomplete

and misleading information”, failure to “challenge or test the sufficiency and accuracy of

information”, and deeply distorted lens and interpretation is misplaced and results in a deeply

flawed, if not fraudulent, Audit Report. This makes an excellent Harvard case study in

investigative and Audit Report failures and “pile on” adoption through passive acceptance of

errors and incompetence, rather than objective, engaged investigative thinking. Unfortunately,

the management oversight and exposure of internal errors to the Special Masters that should have

taken place here to correct this flawed product, was intentionally not done by the Special

Masters, even after written notice and detailed evidence to them on February 4, 2021.




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  THIRD EXEMPLAR OF INVESTIGATIVE AND AUDIT FAILURE IN ADOPTING
 BIAS OF CRIMINALS, CONFIDENCE GAME OPERATORS, AND EXTORTIONERS

       The core allegations by the Tipster—that 350 medical reports to be submitted to the NFL

Claims were forged in an attempt to submit fraudulent NFL claims, were shown by the witnesses

and documents as demonstrably false. Consider the following findings from the audit itself:

               Dr. J. Lucas Koberda Confirms All Records Accurate and No SCM Claim
               Submission Relying on His Diagnosis.

       Confirming the false narrative and false information provided by the Tipster, that medical

documents were forged, as well as the preliminary attorney work-product evaluations not for

submission to the NFL Claims facility, Dr. J. Lucas Koberda verifies that “all documents

matched his medical records. To date, no Settlement Class Member formerly represented

by Howard & Associates has submitted a claim to the Settlement Program that relies on a

Diagnosing Physician Certification Form by Dr. Koberda.” Audit Report, pp. 15-16.

(emphasis added).

               Dr. Ahmed Sadek Confirms All Records are Accurate and Denies Ever Being
               Requested to Edit a Medical Report.

       Confirming the false narrative and false information provided by the Tipster, that medical

documents were forged, as well as the preliminary attorney work-product evaluations not for

submission to the NFL Claims facility Dr. Ahmed Sadek “denied ever being requested to

make edits to reports, except to correct name spelling or dates of birth.” Audit Report, p. 16.

(emphasis added).

               Dr. Laura Hopper Confirms Accuracy of Medical Reports.

       Confirming the false narrative and false information provided by the Tipster, that medical

documents were forged, as well as the preliminary attorney work-product evaluations not for

submission to the NFL Claims facility, Dr. Laura Hopper “noted no other differences in the



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reports [other than Dr. Williams name missing on one title page]. Audit Report, p. 18.

(emphasis added).

        Notwithstanding the verification that the core allegation by the Tipster was false, namely

that no medical reports were altered, the Audit Report still adopts the bias of the Tipster and

continues is meandering investigation violative of Quality Control Standards and not grounded in

reality or objectivity.

     FOURTH EXEMPLAR OF INVESTIGATIVE AND AUDIT FAILURE BY NOT
      COMMUNICATING WITH THE LAW FIRM TO GET ACCURATE FACTS

        The Audit Report investigator, presumably Brown & Greer Attorney Roma Petkauskas,

and Special Masters could have saved much of this time and effort by directly communicating

with Howard & Associates as to this false lens and adopted bias of the investigation from

extortionate allegations founded in greed. Fortunately, and expectedly as this is its purpose, the

protected attorney work product process uncovered systemic errors, lack of staff capacity,

extortioners, confidence game operators, and led to education from experts, and to a claims

submission education that were in the client’s interests. The fact that all lawsuits have been

settled with Howard & Associates not paying anything, including no disgorgement to the SEC,

shows that other than trusting and seeing the good will in others, nothing was done wrong, and

no greed nor unscrupulous activity took place. The protected in-house attorney work product

education and exposure process worked. Notwithstanding, the adopted, distorted and bias lens in

violation of investigative Quality Standards for Investigations in the final Audit Report, adopted

and not modified by the Special Masters, continues.

        That is why objectivity, lack of bias, ethics and compliance with evidentiary rules are

required for all investigations and Audit Reports. Bias is a common human error, and emotional

identity commitment combined with doubling down through cognitive dissonance keeps one



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buying into an initial false lens on reality, sometimes for life.15 If the lens and bias continue to

deny reality this can result in personal disintegration, institutional disintegration, and mayhem.

Bias and a distorted lens on the facts is a key source of injustice. Consider the recent storming of

the Capital as an example. This was a good learning opportunity for the Special Masters,

investigators, and Attorney Roma Petkauskas, yet they have chosen to continue down their

biased path.

FIFTH EXEMPLAR OF INVESTIGATIVE AND AUDIT FAILURE TO OBJECTIVELY
   INTERPRET PROTECTED ATTORNEY WORK PRODUCT WORKING DRAFT
    TEMPLATES FOR VOLUME MEDICAL REVIEW AND TESTING SYSTEMS.

         The Audit Report lists three claims (Kenneth Davidson, SPID 100003606; Jessie Small,

SPID 100014059; Robert Hecko SPID 100006799) submitted by another law firm with NFL

Claim compliant medical evaluations by other physicians, with awards issued for two of the

claims. They include historical IMEs from the preliminary attorney work product done by

Howard & Associates in-house experts and psychometrist. These experts were providing

preliminary medical evaluations for Howard & Associates for understanding of the evolving

claims process.

         The fact that similar information is found concerning the same client from a similar

medical evaluation in-house attorney work product evaluation process, is expected. The mistake

is conflating this in-house attorney work product medical evaluation work with a final product

for submissions for claims.

         As a matter of course, medical providers don’t start from scratch but rely on prior work

of other medical providers as they advance their diagnosis and treatment, and often rely upon and


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   As the Audit Report shows, this same information without the proper lens leads to extortion and injustice. This is
the error of the investigator and the Audit Report. Their bias in seeing bad intent is embedded based on their
incentives and career which distorts their lens. This lack of objectivity and bias created the distorted lens and is at
the root of this non sequitur Audit Report.



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may even adopt the information from other medical evaluations as part of their clinical and

medical evaluation efforts. Especially when dealing with high volumes. Notwithstanding, these

were not used for an NFL Claim. They were only protected in-house attorney work product

medical evaluations, not for filing in an “NFL Claim Compliant” medical report. This was part

of the protected in-house attorney work product preliminary medical evaluation screening

process by Howard & Associates.

       Protected educational efforts as attorney work product with non-board-certified

neuropsychologist Dr. Ford-Johnson and neurologist Dr. Sadek as part of the in-house IMEs on

CDRs, dates of testing, and employment are appropriate. In fact, the law firm continued to learn

about the employment issue and now knows that this is only one data point and does not

necessarily exclude a claimant from approval. As a result of this exercise the law firm was able

to assess the competency and capacity of both its staff and evaluate future experts in the evolving

NFL Claims process. The appropriateness of this internal strategic approach became clear to the

law firm in late 2017, when the law firm learning process concerning staff and in-house medical

evaluation experts had run its course.

SIXTH EXEMPLAR OF INVESTIGATIVE AND AUDIT FAILURE TO OBJECTIVELY
  INTERPRET PROTECGTED ATTORNEY WORK PRODUCT WORKING DRAFT
    TEMPLATES FOR VOLUME MEDICAL REVIEW AND TESTING SYSTEMS.

       Providing templates in word for “working draft reports” that are to be edited based on the

assessment and findings of a medical expert, for a high volume of protected in-house attorney

work product medical evaluations, is standard activity. All medical professionals have their

templates. Providing updated facts and information in “working draft reports” is also standard.

This working draft protected attorney work product was ultimately reviewed by the law firm and

from the lessons from this attorney work product medical evaluation effort guided the law firm




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to engage a law firm with more experience in the NFL Claims process. That was the Shenaq,

PC., law firm.

       As co-counsel, Howard & Associates paid $3 million for all independent testing and

assisted with its joint client claims with Shenaq, PC. Shenaq, PC., entered into a joint venture

with Howard & Associates due to its expertise in the evolving NFL Claims process. Howard &

Associates had learned what was needed for quality staff and claims submissions through its

attorney work product efforts from 2015 through early 2018 and determined to participate with a

firm that had perfected the process.

       Without its experience and knowledge from its protected attorney work product

education with other experts and staff, the firm would not have had the judgement and expertise

to make this decision. It was the correct one at that time and the attorney work product

education and experience informed this decision. Unfortunately, because the investigations

continued, sometime in 2019, Shenaq, PC., saw the false allegations, bias, lack of objectivity by

the investigators and audit process, as well as pile on by other opportunists, as a method to gain

favor, and work strategically to take the benefits of the $3 million, and increase his income. His

bottom feeder strategy also failed.

      SEVENTH EXEMPLAR OF INVESTIGATIVE AND AUDIT FAILURE TO
     OBJECTIVELY INTERPRET PROTECTED ATTORNEY WORK PRODUCT
     WORKING DRAFT TEMPLATES FOR VOLUME MEDICAL REVIEW AND
                         TESTING SYSTEMS

       Creating protected in-house attorney work product “draft” medical evaluations from

11/5/15 to 11/6/17 that the law firm never authorized to be used for a formal claim submission

but were part of its protected attorney work product privilege efforts at medical evaluation of

client claims and preparing systems for claims, but never using these documents for final NFL

Claims submission, is appropriate. This is regardless of the number of revisions or dates of the



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medical evaluation drafts, and regardless of the source of the information, CDR worksheets, and

privileged communications, correct and incorrect, between legal staff and experts, vel non.

        Claims of “cherry-picking” existing and accurate CDR information for medical

evaluation working drafts of an protected in-house attorney work product education effort for

both staff and in-house experts that was never submitted nor intended to be submitted for an NFL

Claim, is irrelevant. Moreover, the non-testifying in-house experts were able to review the

original source documents and modify as desired. The bias and lack of objectivity distorted the

investigator lens and Audit Report. The Audit Report conflates protected in-house attorney work

product medical evaluations and process education with actual submissions. This bias and lack

of objectivity blinds the investigator to the fact that this has no significance.

        Inaccuracies and errors in protected attorney work product “working draft” medical

evaluations and related documents prepared for internal evaluations, but not for submission to

the NFL Claims, is of no significance. It raises the concern of why the constant conflation of law

firm non-use documents and law firm non-authorized documents, as if they were “actual”

submissions? Why and how are drafts that are never used, driving this investigation, and the

only substantive evidence of this investigation? What is the source of this bias?

        In the words of Shenaq, PC., a key informant source of this biased investigation, these

were “’historical medical records’ that are ‘not used as a basis of any claim.’” Audit

Report, p. 14. In fact, when the audits of these three claims were concluded, there was a finding

of compliance and no “Report of Adverse Finding in Audit.” Id.

        The bias and lack of objectivity and failure to apply exculpatory information deems the

investigation and Audit Report biased, improper in outcome, seeped with severe violations of the

code of Judicial Conduct, rules of Federal Civil Procedure, U.S. Supreme Court precedent, and




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Quality Control Standards of investigations and audits. It raises the specter of bias or at a

minimum the appearance of bias, either of which meets the standards for dismissal of the

auditors and Special Masters.

       EIGHTH EXEMPLAR OF INVESTIGATING AND AUDIT FAILURE TO
      OBJECTIVELY INTERPRET PROTECTED ATTORNEY WORK PRODUCT
           “WORKING STAFF” EVALUATION AND DEVELOPMENT

       The investigators and Audit Report infers nefarious intent and processes for Dr. Edwardo

Williams working as a psychometrist. There is no objective basis for any such claim. This claim

is borne from bias and lack of objectivity. Dr. Edwardo Williams, with over 30 years of medical

intake and diagnostic experience with similar populations and culture. As a black and

accomplished physician with a history of serving under resourced black communities and

underserved black populations, he lost his license due to nothing but comments to a handful of

primarily white female patients, continued his development as a psychometrist for

neuropsychological testing. Black nurse Samantha Barker’s CDR interface, as she had

experience with similar populations and culture, was evolving as part of the attorney work

product privilege education efforts. Similarly, both Dr. Koberda’s and Dr. Sadek’s interface was

evolving as part of the protected attorney work product privilege medical education efforts.

There was no “machine”, nor a claims submission process “created”. This was a protected in-

house attorney work product medical evaluation education process that was never, could never

and will never be used for final claims submissions.

        NINTH EXEMPLAR OF INVESTIGATING AND AUDIT FAILURE TO
      OBJECTIVELY INTERPRET PROTECTED ATTORNEY WORK PRODUCT
            WORKING, STAFF EVALUATION AND DEVELOPMENT

       As another example of failure to comply with Quality Standards for Investigations, and

bias, the law firm’s focus on and learning the importance of employment as a key component of




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the NFL Claims process is not nefarious. The law firm was learning about this during its

protected attorney work product educational process. Addressing Mr. Small and Mr. Cody

(SPID 100002927) employment status was a key part of education on their claims process. The

law firm’s education and its ultimate testifying experts must understand that for any claim to be

valid, employment was a key issue. Attorney work product with non-testifying in house experts

not for use in claims submissions is not an issue, nor relevant for an investigation, much less in a

final Audit Report accepted by Special Masters. This in-house education is appropriate for a law

firm to have in order to understand compliant claims submissions.16

         Instructions on an in-house protected attorney work product in learning how experts

develop accurate CDR scores as part of attorney work product privilege education efforts that

were never submitted is not a “gross misrepresentation of facts,” but merely highlighting the

importance of CDR scores for a true and final claims submission process, which was

implemented in Spring of 2018, not during the in-house protected attorney work product

education from 2015 or 2017 that the audit is referring to.

         Notwithstanding this protected in-house attorney work product learning process, none of

this medical evaluation attorney work product was never used, nor authorized for use, in any

claim submission. These were protected attorney work product educational efforts and medical

evaluation efforts to prepare for the NFL Claims process as the understanding of the medical




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   What these facts do show is the coordination between Shenaq, PC., which is indicated to eventually become a
stalking horse for the investigator so that the investigator assists Shenaq, PC., in taking $100,000s or more in fees
for a claim and others that Howard & Associates paid $3 million in costs for, in violation of Shenaq, PC’s., co-
counsel agreement. The Audit Report and investigator has become either a knowing or unwitting accomplice or is
being duped due to lack of expertise and sophistication, for greed and taking by Shenaq, PC., and others such as
Addys Walker, Tipster Don Reinhard and various SCMs coached from prison by Tipster Don Reinhard and his
accomplices.




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standards evolved both with the experts and with the NFL Claims process from 2015-to early

2018.

         As a result of the protected in-house attorney work product medical evaluations, and the

NFL Claims process maturing, the firm was able to determine the most effective way to manage

client claims. None of the protected attorney client work product educational work with in-

house non testifying expert medical evaluations were ever to be used for any claim submission,

and none were ever submitted as a claim for any SCM. They were used only to understand the

capacity of staff and evaluation of experts and capacity to determine the most effective way to

manage client claims.17

      TENTH EXEMPLAR OF INVESTIGATION AND AUDIT BIAS AND FAILURE TO
     OBJECTIVELY INTERPRET PROTECTED ATTORNEY CLIENT GUIDANCE AND
                                 COSTS

         As part of its protected attorney work product with its in-house experts, this firm assisted

Dr. Koberda in understanding and participating with the NFL Claims process. This is the law

firm’s guidance as testing for internal evaluation purposes were not for NFL Claims submissions

and its guidance was accurate for the internal attorney work product IME evaluations that were

not being used for NFL Claims filing, but only medical experience and judgment as the law firm

educated itself on the process. Dr. Koberda’s statement that “I provided an independent

examination and expert opinion” is accurate and appropriate guidance to its expert.


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  Similarly, the purpose of protected attorney work product medical evaluation activities with experts and staff is to
understand how the process can work. They are to work to determine what is accurate, legal and appropriate. If the
law firm educational materials were submitted for a claim that would violate the instructions by Howard &
Associates and would not be appropriate as they were not intended for filing, nor finalized for filing, but were to
educate on compliance with claim submission standards, not to avoid them. Howard & Associates did an excellent
job in determining lack of medical evaluation expert skills and qualifications, as well as lack of staff skills, including
exposing corrupt staff and consultants, and was only able to do so through this learning exercise. Howard &
Associates used this information as part of its growing expertise in evaluating claims and capacity to prepare claims,
and to partner with a law firm with skills and expertise that its in-house attorney work product staff and experts were
shown to lack.




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         The application guidance on language was also accurate. Doctor Kobera’s statement that

“they were general assessments because the Players wanted to see if they had any problems

before they applied for the Settlement Program to see if they could qualify and were from

Howard & Associates” is accurate. This was protected attorney work product medical

evaluations by an in-house expert for assessments of clients for potential claims submissions, but

not for submissions.18

         Interpreting these statements as nefarious demonstrates the bias, lack of objectivity and

influence of other interested parties to accomplish their agendas of greed and criminal conduct

through the investigation and Audit Report.

ELEVENTH EXEMPLAR OF INVESTIGATION AND AUDIT BIAS AND FAILURE TO
 OBJECTIVELY INTERPRET PROTECTED ATTORNEY CLIENT GUIDANCE AND
                            COSTS

         Protected attorney work product efforts to educate itself on medical standards, expert

capacity and staff, to understand how to best prepare and submit a claim for a client is not “with

the purpose to affect whether the Settlement Class Member qualifies for a Monetary Award.”

There was no filing of a claim to the Monetary Award Fund (“MAF”). The entire effort was to

ensure that claims are compliant with and would indeed meet medical and claims standards

“prior” to submission to the Monetary Award Fund.

         Protected attorney work product education and work with in-house experts on medical

evaluations for potential claims and staff is not coaching, nor disregard of basis professional



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   Attempting to sanction a “former” independent contractor--paralegal for the law firm, Neil Epstein, for protected
attorney communications in assisting in communicating accurate information to an in-house medical evaluation
expert, which in-house expert was never used for any claim submission by the law firm, as part of the law firm’s
protected attorney work product efforts, violates logic, ethics and law. This bias and failure to properly evaluate the
evidence is similar to the inclusion of Sharon Delaney and Collins & Truett law firm in this Audit Report, without
any notice to those parties. This pattern indicates adoption of third-party agendas by the investigators, investigation
and ultimate Audit Report. It looks like third parties are threatened by whatever work he is doing for another law
firm and the investigator is doing their biased bidding.



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principles, but educating the law firm on how to properly appraise and apply medical expert

knowledge within the then and still evolving Monetary Award Fund submission process.

       The language of the Audit Report complaining about claimed “delays” SCMs for timely

filings, is the same language that Shenaq, PC., used in its self-interests for more fees on a claim

that it paid nothing on, as found in its charging lien allegations. This again is evidence that

investigators and their Audit Report are colluding and advancing the interests of Shenaq, PC.,

either willingly or unwittingly. There was no delay in filings, as taking the time to deliberately

understanding the claims process, and to understand whether a client, with options ranging from

Parkinson’s disease to not being qualified, actually expedites the payment of claims. What has

delayed compensation of retired NFL Claimants is a biased and deeply disturbed audit process.

The fact that after nearly four years in operation, only 1,219 claims have been paid out of 20,556

Registered Settlement Class Member, and 3,146 claims packets filed, demonstrates that being

deliberate and cautious in filing claims is both prudent, required and expedites payments for

clients. The scant movement of claims also demonstrates a tacit, if not intentional approach to

delay and deny valid claims.

       The fact that Howard & Associates is seeking costs for the $3 million funds that it paid

on behalf of its co-counsel, Shenaq, PC., for joint client final testing for submission packets and

travel, is entirely appropriate. Any direct or indirect manipulation of the Audit Report and

investigators to line the pockets of Shenaq, PC., competing opportunist law firms, criminals,

extortionists, thieves, or to accomplish the NFL’s aim of denying payments, is corrupt. This

adoption of agendas by Shenaq, PC., Don Reinhard, Joe Horne, Addys Walker, Dexter Carter,

Corey Fuller, the NFL, and the like, gives clear evidence that this Audit Report, in violation of

judicial, rules of civil procedure, U.S. Supreme Court and universal investigative standards, has




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adopted the lens and bias of manufactured sophistry by a community of extortioners, confidence

game operators, and legal legerdemain opportunists, including the NFL, based on unscrupulous

greed and bottom feeding.

  BIAS FROM AUDITORS, SPECIAL MASTERS AND NFL COUNSEL ALLIANCE
 KNOWINGLY AND INTENTIONALLY HARMS INJURED RETIRED NFL PLAYER
                           RECOVERIES

       NFL Counsel and the audit both admit that no claim was ever submitted by Howard &

Associates. “Howard did not file any claims for claimants he represented on the NFL Portal.”

Id., p. 6; Audit Report, p. 49. NFL Counsel admits that Howard & Associates spent $ millions

on in-house attorney-client work product medical evaluations for approximately 350 clients.

(Respondent’s Initial Response, February 4, 2021, pp. 7, 17, 19, 21; NFL Counsel Reply, pp. 2-

3). NFL Counsel and the audit admits that the in-house attorney-client work product medical

neuropsychological evaluations were not intended nor could be submitted for claims as the

medical providers were not qualified for NFL claims submissions. (NFL Counsel Reply, pp. 3-

4). NFL Counsel and the audit admits that in-house attorney-client work product medical

evaluations that were never submitted nor intended to be submitted had only the “potential to

affect whether class members received a Monetary award in the Settlement Program.” (NFL

Counsel Reply, p. 1). NFL Counsel and the audit admits that co-counsel submissions by Shenaq,

LLC., were valid and Respondent’s investment of approximately $3 million on preparing and

reviewing claims for submission was legal and valid.

       NFL Counsel and the audit avoids the written standards for NFL claim audits—“a

misrepresentation, omission, or concealment of a material fact made in connection with [filing] a

claim by the Settlement Class Member.” (Title IV, Rule 8, Rules Governing the Audit of

Claims—Standard of Proof Applicable to Special Master; Response, February 4, 2021, pp. 8-9.).




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The undisputed evidence demonstrates the auditor and Special Masters have gone beyond their

authority and are operating under “actual” bias and the appearance of “potential” bias. Again, if

there is even the appearance of “potential” bias, the investigators operating under the Special

Masters must be dismissed. Hoffman, Murchison, supra.

               Nefarious Twist of In-House Attorney Work Product Into a Claim of a
               Fraudulent Scheme.

       NFL Counsel, the auditors and Special Masters attempt to twist in-house attorney work

product medical evaluations into a fraudulent “scheme.” They claim a scheme with 6 medical

providers sprawled across the nation from California to Houston, Texas to Tampa, Orlando,

Miami and Tallahassee, Florida. The neurologists and the neuropsychological providers (not

qualified for final NFL claims submissions) were independent and had distinct tracks. Most did

not work with or ever communicate with each other. The scheme would also have to include10

staff in the then Tallahassee and Fort Lauderdale, Florida offices.

       This is a scheme to accomplish what? Is it a scheme to take advantage of a claims

facility that didn’t exist and its parameters undefined? Is it a scheme for claims that were never

to be submitted as the neuropsychologists were not qualified for claim submissions?

       NFL Counsel and the Special Masters must acknowledge Respondent does have some

education and capacity to reason. Otherwise, they couldn’t claim that Respondent could form an

intent to scheme. They know that such claims, without a properly board-certified

neuropsychologist report and proper CDR report, could never be submitted for a successful

return for clients. They know that Respondent is rational and intelligent enough to know that




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such claims could never be submitted for a successful return for clients.19 Thus, what would or

could this “phantom” scheme of goofy thinking hope to accomplish?

        This is a prime and actual example of sophistic ad hominem dissembling to avoid justice

for severely injured retired NFL players. This is a prime example of superficial thinking

absorbed from a low-level extortionate criminal and inmate, and adapted, exploited and spread to

others who also apply exploitive superficial thinking to advance their “bottom feeding” approach

to a career.

        The investment, experience and education from 2015 through early 2018, which is

standard for high volume and high investment MDL/Class Actions, such as 5,000 BP Oil Spill

claims, 18,000 Engle Tobacco Trust cases, and 3,600 Engle Tobacco Progeny cases, Toyota Air

Bag claims, and over 350 NFL Claims, led the firm to locate a firm with additional experience,

and to build upon its in-house attorney work product, and spend $3 million with Shenaq, LLC,

which is approximately $8,500 a claim. The two firms refined the in-house attorney work

product for successful final claims submissions. This is a sound and deliberate method for high

quality claims submissions. It is not “far-fetched” as NFL Counsel claims. (NFL Counsel

Reply, p. 4). For competent and quality claims submissions, it is required. From the “far-

fetched” uninformed and unreasoned response, it is clear that NFL Counsel has never risked




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   The average “conservative” return on an NFL Claim is approximately 10 times the $8,500 expert investment, or
around $85,000 in fees, based on a recovery of approximately $500,000 and 17% fee per successful NFL claim.
Investing $3 million in preparation for claims is standard and has been done in previous high volume claims
submissions. For instance, Respondent submitted nearly 5,000 successful BP claims before this same claim
administrator, Brown Greer, and knows that the claims facility process must be expertly understood and adapted to
over-time as the process evolves. Patience and study of the claims process, $ millions of in-house attorney work
product expert work, and hiring experienced experts and work with experienced counsel, was required to
successfully navigate the BP claims process, and that led to nearly $100 million for Respondent’s BP clients before
Brown Greer. Unfortunately, in the case of NFL Claims, Respondent had destructive operators in his midst, due to
his trust and giving a second chance to a high school football teammate, and compassion with and for the black
community.




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millions to assist others, nor done a simple investment and return calculation. This firm did so

on a regular basis ranging from historic battles against Big Tobacco to BP. Nothing nefarious,

clearly integrous and grounded.

        “Potential” to do harm is another ad hominem distraction. Every human being has the

potential to do good or bad, to love or hate, to care or to be greedy, to lie or to tell the truth, to

murder or to forgive. “Potential” means nothing took place and logically can never be made

to be “actual.” As referred to earlier, “Potential means you haven’t done anything yet.” Hall

of Fame NFL Head Coach Bill Parcells.

        Pursuing an investigation based on ad hominem narrative from a criminal inmate, and

“potential” but non-existent harm, demonstrates an unbridled investigation and “potential” and

“actual” bias by the investigators and Special Masters. For Court appointed Special Masters and

those working for them, even the perception of “potential” bias warrants dismissal. Hoffman,

Murchison, supra.

                NFL Counsel’s “Actual” Dissembling.

        As an example, every intelligent lawyer has the “potential” to use syllogisms and logical

fallacies to dissemble and pervert justice based on an intent of professional advancement and

hourly billings. Some lawyers use their syllogisms and accurate logic to advance justice and

others use their syllogisms and logical fallacies to obfuscate justice.

        In this case, NFL Counsel has gone beyond “potential” and moved to “actual”. NFL

Counsel has “actually” dissembled and uses non-rational, logical fallacy ad hominem devices in

an attempt to avoid justice and payment to injured NFL clients. Dissembling with Sharon

Delaney,                      and Respondent are examples. It is clear that this moral and ethical




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lapse is not motivated to advance justice or compassion but based on personal professional

exploitive advancement and hourly billings. This moral and ethical lapse is “actual.”

               NFL Counsel, Auditors and Special Masters Avoid Indisputable Facts and
               Logic.

       NFL Counsel needed 6 weeks to analyze the evidence to say “Much of the Responses and

their exhibits are entirely irrelevant, . . .” (NFL Reply, p. 1). Auditors and Special Masters had

nearly 4 years. Despite NFL Counsel’s admission that portions of the Responses are relevant,

yet nothing from auditors and Special Masters, neither do not to the hard logical and evidentiary

work to address the relevant evidence and exhibits.

       If NFL Counsel, auditors and Special Masters did so, no violation would exist, since their

superficial thinking argument is based on “potential” and “ad hominem.” Both of which are

logical fallacies and mean nothing because one is not “actual” in reality, and the other is not

factual or logical, but based on a logical fallacy. That is why the audit proof standards

require “actual” claims submissions, not “potential” claims submissions that never did,

never would, and never will happen.

       Not only does NFL Counsel, auditors and Special Masters attempt to avoid the facts and

apply logical fallacies, NFL Counsel, auditors and Special Masters deny the relevance and

application of ethical standards of investigations. Use of narratives from extortionate criminal

informants, whose claims are demonstrably false, and proven to be so, must ethically be

discarded. Yet NFL Counsel, auditors and Special Masters hold onto use of these extortion and

demonstrably false statements, as it accomplishes the NFL’s avoidance agenda, with tacit

complicity of the auditors and Special Masters, not based on truth and justice, but based on

intentional, actual obfuscation and de facto denial of payments to retired NFL Claimants.




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       This is because use of logical fallacies and ad hominem are methods lacking reason, but

relying on emotion and impulse, to obfuscate truth and justice. Ad hominem logical fallacy is a

“dark arts” method to gain political, economic, professional and institutional power, and to

extort, based on fear of ad hominem. Id. Politicians, lawyers and institutional manipulators

regularly use this technique for advancement. They are blind to the truth that capitulation to

their use of these “dark arts” kills their integrity and neuters capacity for good and lasting

impact. Respondent does not operate in fear. Respondent knows who he is, knows what took

place, and has extensively documented the same.

               NFL and Special Masters Claim Irrelevance of Investigative Standards.

       It is not surprising that NFL Counsel would claim that ethical investigative standards are

irrelevant, when avoiding such standards accomplishes an immoral goal of diminished and

delayed payments to retired and severely injured NFL players. That is because NFL Counsel’s

client gains by slip shod ad hominem investigations, even those that demonstrate no “actual”

harm ever took place nor was intended to take place. What is surprising is that the Court

appointed auditor and Special Masters also find these standards irrelevant. This is a violation of

the mission the Court assigned the Special Masters to accomplish and demonstrates significant

bias and lack of objectivity. Such abandonment warrants admonishment or dismissal.

       The standards that NFL Counsel find irrelevant include lack of objectivity (“potential” is

not “actual”), lack of independence (accepting intentional and known dissembling), and

absorption of preconceived opinions (criminal allegations of fraud as part of an explicit extortion

scheme), official, professional, personal and financial incentives towards bias (an activity to

charge clients for and to claim feigned professional competence), failure to accept and review

exculpatory and mitigating evidence (no claim submitted, no forging of any medical reports, no




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misrepresentation to any party, all in-house attorney work product medical evaluations), all of

which destroy the integrity of this and any investigation. Inconceivably and immorally, NFL

Counsel align with the Special Masters and finds these matters irrelevant.

       The harm from failure to follow investigative standards are indisputable, and the harm is

taking place here and with Sharon Delaney,                     , Respondent, and scores of

innocent NFL claimants. What is concerning is that the investigators and Special Masters are not

complying with investigative standards. This shows “potential” and “actual” bias. Even the

appearance of “potential” bias warrants their dismissal. Hoffman, Murchison, supra.

               Use of Perjured, Fraudulent and False Bar Complaints Never Read nor Filed
               by Clients.

       NFL counsel, auditors and Special Masters attempt to justify dissembling by use of

Florida Bar complaints that were fraudulent, never read by the client, ghost written by

extortionate counsel, and submitted in violation of perjury, full of admitted false statements, nor

filed by the client or his estate, but solely for extortion purposes, is another ad hominem

deflection from the logical fallacies that both the audit and NFL Counsel relies upon. Redacted

Response to Florida Bar attached with exhibits. The Auditors and Special Masters adopt the

same low watt approach.

       This same scheme and narrative were used by Corey Fuller and Dexter Carter, under the

guidance of and coordination with criminal Don Reinhard from prison, to complete their scheme

to take $800,000 without repayment by filing incendiary lawsuits and Bar Complaints. Preferred

Capital tried the same approach, and former counsel, Amir Shenaq, after Howard invested

approximately $3 million for NFL claims testing with his firm, tried to leverage his extortion

skills in coordination with the NFL Claims investigators, in an attempt to undercut Respondent’s

rights to fees and costs and enlarge his own. Stench of smoke, upon smoke to justify smoke.



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This is rooted in extortion agendas by criminals and pseudo criminals and spin. The

investigator, auditor and Special Masters are to be objective and independent in seeing through

this smoke. They failed.

               Failure to do Background Checks.

       NFL Counsel, auditors and Special Master are correct that in 2015 Howard trusted Don

Reinhard and Addys Walker and didn’t do a background check on either person. Howard regrets

that he was trusting too much, doing too much, and going too fast on too many fronts (Global

Graduate University, Movie Company, spending millions on 3,600 tobacco cases, working on

the inventory of 5,000 BP claims before Brown Greer, NFL Testing, and real estate development

and more) without competent staff to slow down and engage in proper due diligence. His

compassion for and trust in his high school football colleague and efforts to provide opportunity

to members of the abused black community were exploited by both.

       Mr. Reinhard has since been in prison since March of 2017 and Mr. Walker was exposed

for his confidence game operations back in January of 2018 and departed. It is now 2021. These

errors going back 6 years are not a basis for denying NFL Claims for injured retired NFL

players, nor is this misrepresentation nor fraud in any manner. To rely on the goodness and

trusting of others causing a failure to engage in background checks as an intentional basis to

avoid paying NFL Claimants is indeed rank dissembling, and worse because it is intentional.

       This view is adopted by the investigators, auditors and Special Master demonstrates

“potential” and “actual” bias and a violation of their duties of efficient and justified payments to

NFL Claimants. Even the appearance of “potential” bias warrants dismissal. Hoffman,

Murchison, supra.




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               No Scheme, No Profit, No Greed.

       As the evidence and reason demonstrate, there was never a scheme. A scheme would

require a rational approach and an end goal of greed and illegal profit. This is not found in the

facts nor in logic and was neither the goal nor the outcome. All that occurred was imperfect

physicians and staff doing in-house attorney work product medical evaluations from 2015

through 2017, with neuropsychologists that were never qualified for submissions to the NFL

Claims process and as such their evaluations could never be submitted. All were working

without experience with a claims facility that was undefined and didn’t exist during the core

relevant time frame.

       Howard trusted and gave opportunities to those that exploited his compassion on and for

their lives. Moreover, neither the claims facility staff, nor the physicians, nor Howard’s staff,

nor Brown Greer at that time, had any experience with the then either non-existent and ultimately

inchoate NFL Claims process—it is now 6 years later. One can’t judge on what is known now

but has to look at the facts as to what was known 6 years ago.

               Sanctions.

       NFL Counsel, auditors and Special Master seek sanctions against non-existent personnel.

There are no staff working at Howard & Associates, nor did any staff engage in anything

untoward. Moreover, the referral to law enforcement and other agencies took place in July of

2018 in violation of audit standards and have been dealt with since then. It is now April of 2021.

       The “potential” and indication of “actual” bias found in the investigation and by the

auditor and accepted by the Special Masters is extensively documented in the various responses.

This complacency in the face of “potential” appearance of and “actual” bias warrants their

dismissal. Hoffman, Murchison, supra.




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                                               CONCLUSION

        Investigations and Audit Reports are not launching pads for criminals, borderline

criminals, extortionists, and legal legerdemain opportunists to leverage for their avarice,

exculpation of their crimes, information exchange for accelerated and presumptions of accuracy

for claim processing, and greed. That is why Cannon 3.C (1) of the Code of Judicial Conduct,

Rule 53, Federal Rules of Civil Procedure, federal judge oversight, and Quality Standards for

Investigations exist—seeking and advancing truth; not fostering bias, exculpation of crimes,

extortion and greed. Otherwise, there is an unbridled abuse of the potent destructive power that a

bottom feeding community that gorges on incompetent, biased investigations unleash20 for

extortion and greed with the investigations doing the work for the community of criminal,

extortionists and legal legerdemain opportunists.

        This is what happened in the instant case. After spending over $3 million for in-house

medical evaluations and final review by experienced and MAF neurologists and

neuropsychologists for undisputed quality claims submissions, Howard & Associates has

expended and has obligations for $2.5 million in legal fees solely from the investigators, auditors

and Special Masters empowering opportunists.

        An objective, unbiased, ethical investigation that complied with the Court’s standards, the

Code of Judicial Conduct, the Federal Rules of Civil Procedure and the standards set by the

United States Supreme Court, Hoffman, Murchison, supra, including evidentiary and

confidentiality standards, would have ended this abuse long ago. Instead, like a virus, the abuse


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   This happened with the Spanish Inquisition from 1478 to 1834; J. Edgar Hoover’s fraudulent and illegal FBI
investigations from 1935 to 1972; Senator Joseph McCarthy’s Senate Permanent Subcommittee on Investigations in
the 1950s anti-communist hysteria; and more recently U.S. Attorney General William Bar’s November 9, 2020
authorization of FBI investigations into voter fraud, giving validity and support to President Trump’s voter fraud
disinformation campaign pumped by certain political communities and disinformation media outlets, which
disinformation campaign led to the first ever storming of the U.S. Capital and the 117th U.S. Congress by its own
citizens on January 6, 2021.



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of an extortionist, imprisoned criminal and his allies, demanding $1 million in March of 2017, is

empowered by this investigation to let them get away with his actual and attempted theft and to

use this investigation to cover criminal conduct, manipulate and accomplish civil and criminal

extortionate threats.

       This investigation, fed by the NFL Claims process, and shopped by Tipster, criminal and

inmate Donald Reinhard to SEC, NFL, NCAA, NFL Claims Class Counsel, Florida Bar, pseudo

criminals coordinating with inmate Don Reinhard to get away with their theft, such as Corey

Fuller, Dexter Carter and Joe Horne, and scores of legal legerdemain opportunists, such as J.B.

Harris and Preferred Capital, created a community of bottom feeders that morphed over the past

four years into sprawling nefarious allegations and economic destruction based on false and

fraudulent allegations as to protected attorney work product privilege in-house medical

evaluations that were never intended, never authorized, and in fact never were used or

communicated to any third-party, including but not limited to claims facility or claims facility

staff. These false and nefarious claims were given false validity and credibility by an

incompetent and biased investigative staff, investigative process (that was shared with third-

parties and other investigations) and a biased and deeply flawed Audit Report—which the

Special Masters failed to provide oversight and correction. If there is any integrity and seeking

of truth in this process, these errors would have been analyzed, understood and rooted out, before

others, including NFL Claimants and those servicing them with integrity and effectiveness, were

harmed by claims stalled for years as a result of this flawed and exposed sub-standard, biased

investigative and audit process. In this case, admonishment or dismissal of the Special Masters

and Auditors is warranted.




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         WHEREFORE for the forgoing reasons, case law, judicial standards, rules of Federal

Civil Procedure, and ethical standards governing investigations, audits and Special Masters, and

the indisputable evidence provided herein, the auditors and Special Masters must be disciplined

or dismissed by this honorable Court for their bias, both actual and/or the appearance of potential

bias.

         Respectfully submitted on this 7th Day of April 2021,



                                                     /s/Tim Howard
                                                     Florida Bar No. 655325
                                                     Howard & Associates
                                                     1415 E. Piedmont Dr, Suite 5
                                                     Tallahassee, Florida 32308
                                                     Telephone: (850) 298-4455
                                                     E-Mail: tim@howardjustice.com


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the forgoing was served via e-

service through the U.S.D.C., portal on the court and counsel of record on this 7th Day of April,

2021.

                                                             /s/ Tim Howard
                                                             Attorney




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                         INDEX OF EVIDENCE


EXHIBIT A      Quality Standards for Investigations

EXHIBIT B      FBI Investigative Guidelines

EXHIBIT C      Wisdom Report (                   ) - Veracity of Sharon
               Delaney

EXHIBIT D      Affidavit of Sharon Delaney

EXHIBIT E      Tipster Inmate Coordination with SCM Corey Fuller, Joe Horn,
               et.al., for Extortion

EXHIBIT F      Tipster Inmate Attempt at Extortion Through the Florida Bar

EXHIBIT G      Special Masters’ Failure to Address Bias in Investigation

EXHIBIT H      Affidavit of Respondent

EXHIBIT I      Federal Order of Disgorgement for Tipster’s Illegal Taking
               Approximately $500,000

EXHIBIT J      SCM Corey Fuller’s Attempt at Extortion Coordinated with
               Tipster

EXHIBIT K      Verified Perjured, Fraudulent, False and Extortionate Florida
               Bar Complaints, and Extortion Attempts Against Respondent;
               Respondent’s Verified and Undisputed History, Activities, and
               Motivations
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                     EXHIBIT A
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a
                                                                               Council of the Inspectors General
                                                                                  on Integrity and Efficiency
    Council of the
    INSPECTORS GENERAL                                  Authority: Section 11 of the Inspector General Act of 1978 (5 U.S.C. app. 3.), as
    on INTEGRITY and              EFFICIENCY            amended.

                                                        Mission: The mission of the Council of the Inspectors General on Integrity and
                                                        Efficiency (CIGIE) shall be to address integrity, economy, and effectiveness issues that
                                                        transcend individual Government agencies and increase the professionalism and
                                                        effectiveness of personnel by developing policies, standards, and approaches to aid in
                                                        the establishment of a well trained and highly skilled workforce in the Offices of
                                                        Inspectors General.

                                                        CIGIE Investigations Committee: The Committee contributes to improvements in
                                                        program integrity, efficiency, and cost effectiveness Governmentwide by providing


       QUALITY
                                                        analysis of investigative issues common to Federal agencies. The Committee provides
                                                        the CIGIE community with guidance, support, and assistance in conducting high quality
                                                        investigations. Provides input to the CIGIE Professional Development Committee and


      STANDARDS
                                                        the Training Institute on the training and the development needs of the CIGIE
                                                        investigations community. The Committee actively engages the Assistant Inspector
                                                        General for Investigations Committee to assist in carrying out the Committee's goals


         FOR
                                                        and strategies.




    INVESTIGATIONS



              November 15, 2011
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                      Message From the Chairman of the
                       CIGIE Investigations Committee

The Quality Standards for Investigations (QSI), since their inception in 1997, have                                                   TABLE OF CONTENTS
successfully guided the Inspector General investigative community in producing high
quality investigations. They were modified in 2003. This 2011 version will continue to
guide the community in high-quality investigative work.                                                                                                                                               Page
The Inspector General Reform Act of 2008 (IG Reform Act) provided that members of
the Council of the Inspectors General on Integrity and Efficiency (CIGIE) "shall adhere      PREFACE...................................................................................... 1
to professional standards developed by the Council" (§ 11(c)(2) of the IG Reform Act).
For this 2011 edition of the QSI, the Investigations Committee has made technical            GENERAL STANDARDS .............................................................................2
changes that bring the document into full compliance with the IG Reform Act, including
replacing all references to the "PCIE" (President's Council on Integrity and Efficiency)             A. Qualifications...
and the "ECIE" (Executive Council on Integrity and Efficiency) with "CIGIE."                         B. Independence ..... .
                                                                                                     C. Due Professional Care...................................................................8
The crafters of this QSI version, as did their predecessors, recognized the unique
mission and varying statutory responsibilities of each CIGIE member. As a result, each
OIG will adhere to the QSI in accordance with its unique mission, circumstances, and         QUALITATIVE STANDARDS...................................................................... 10
department or agency.
                                                                                                     A.   Planning.......................................................................................1O
Throughout this version, you will also note a few minor changes for clarification, such as           B.   Executing lnvestigations..............................................................11
the definition of "periodic training." Appendix C was also added as a handy, non                     C.   Reporting.....................................................................................13
exhaustive list of laws and regulations relevant to investigative work.                              D.   Managing Investigative lnformation.............................................14

I want to thank the Assistant IG for Investigations (AIGI) Working Group for their
diligence in soliciting input from the AIGI community and in preparing the QSI. I also       APPENDICES
want to thank the Investigations Committee for their watchful eye in finalizing the QSI.
The members of the AIGI Working Group and of the Investigations Committee are listed                 Job Task Illustration for Investigators............... .................. .........A
in Appendix D.                                                                                       Training Profile Illustration for Investigators .................................. B
                                                                                                     Non Exhaustive Table of Legislation, Executive Orders ................C
                                                                                                     AIGI Working Group and Investigations Committee Members......... D




                                         Carl W. Hoecker
                                         Chairman, Investigations Committee
                                         CIGIE
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                                       PREFACE                                                            QUALITY STANDARDS FOR INVESTIGATIONS

                                                                                                                         GENERAL STANDARDS
The standards and principles in this document, commonly referred to as Quality
Standards for Investigations (QSI), provide a framework for conducting high quality         General Standards apply to investigators and the organizational environment in which
investigations for Offices of Inspector General (OIGs) affiliated with the Council of the   they perform. The three general standards address qualifications, independence,
Inspectors General on Integrity and Efficiency (CIGIE).                                     and due professional care.

Recognizing that members of the OIG community are widely diverse in their missions,
authorities, staffing levels, funding, and day to day operations, certain foundational      A. QUALIFICATIONS
standards apply to any investigative organization. As such, the standards outlined here
are comprehensive, relevant, and sufficiently broad to accommodate a full range of OIG      The first general standard for investigative organizations is:
criminal, civil, and administrative investigations across the CIGIE membership.
                                                                                                   Individuals assigned to conduct the investigative activities must collectively
OIGs will incorporate the standards and principles outlined here into an operations                possess professional proficiency for the tasks required.
manual or handbook. This should be accomplished in accordance with the OIG's
particular mission, unique circumstances, and respective department or agency               This standard places upon the investigative organization the responsibility for ensuring
requirements. OIGs are encouraged to monitor changes in the laws, regulations, and          that investigations are conducted by personnel who collectively have the knowledge and
other guidance cited here and revise their policies as necessary, pending future            skills required to perform the investigative activities.
releases of the QSI. In the event the QSI are found to be inconsistent with laws, rules,
regulations, or other pertinent official pronouncements, the latter take precedence.                                               Guidelines
The QSI categorize investigative standards as General and Qualitative. General              Investigations vary in purpose and scope and may involve alleged violations of criminal
Standards address qualifications, independence, and due professional care. Qualitative      or civil laws, as well as administrative requirements. The focus of an investigation can
Standards focus on investigative planning, execution, reporting, and information            include the integrity of programs, operations, and personnel in agencies at Federal,
management.                                                                                 State, and local levels of government; procurement and grant fraud schemes;
                                                                                            environment, safety, and health violations; benefits fraud; the background and suitability
This QSI supersede the standards published by the President's Council on Integrity          of individuals for employment or a security clearance designation; whistleblower
and Efficiency and the Executive Council on Integrity and Efficiency dated December         retaliation; and other matters involving alleged violations of law, rules, regulations and
2003.                                                                                        policies. Some of these investigations address both civil and criminal acts, ranging in
                                                                                             significance from a misdemeanor to a felony. Others involve administrative misconduct
                                                                                            issues. They often require using specialized investigative techniques; examining
                                                                                            complex financial transactions, contracts, grants, and business operations; and
                                                                                            interviewing government and corporate officials. A wide variety of skills and extensive
                                                                                            knowledge are necessary to perform the broad range of activities required by these
                                                                                             diverse investigations.

                                                                                            Investigative organizations should establish criteria to be used in recruiting and
                                                                                            selecting the best qualified applicants. At a minimum, factors to be considered in
                                                                                            employing entry level candidates should include: education and experience, character,
                                                                                            physical capabilities, and age. Each of these factors may be controlled by legislation,
                                                                                            regulation, or agency needs. Investigative organizations should review these criteria to




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ensure that they assist in providing the best qualified applicants. In addition,                                 agency policies to enable investigators to discharge their duties, while promoting
organizations should establish appropriate avenues for investigators to acquire and                              personal well being.
maintain the necessary knowledge, skills, and abilities; complete entry level training,
participate in in service training; and receive professional development opportunities.                          The physical demands placed upon the investigator will vary among agencies. OIGs
                                                                                                                 employing criminal investigators should establish a physical fitness program to provide
Education-It is desirable that all newly appointed investigators possess a 4-year                                and maintain physical fitness and reduce the risks of cardiovascular disease, obesity,
degree from an accredited college. The knowledge acquired from a higher education                                stress, and related ailments and disorders.
will enable the investigator to deal with complex problems encountered in day to day
investigative work. Higher education enhances the investigator's ability to communicate                          It is in the interest of an investigative agency to establish and maintain a vibrant
effectively, both orally and in writing, with witnesses, other law enforcement agencies,                         workforce because an investigator's duties frequently require irregular unscheduled
prosecutors, supervisors, coworkers, and the public.                                                             hours, personal risk, exposure to extreme weather, considerable travel, and arduous
                                                                                                                 exertion. Investigators are frequently engaged in stressful encounters and can be
Experience-Depending on the specific needs of the agency, allowances may be made                                 victims of stress related medical disorders.
for candidates to substitute job experience for a college education. Suitable job
experience would provide the candidate with demonstrable knowledge, skills, and                                  Age-Consideration should be given to minimum and maximum age requirements for
abilities pertinent to the investigative position as discussed later in this document.                           entry-level criminal investigator positions in accordance with applicable statutes and
Depending upon the nature of the investigative organization's mission, additional                                regulations. Waivers may be granted only in a=rdance with applicable regulations.
requirements may be established for specific types of experience (financial skills,
computer skills, etc.).                                                                                          Knowledge, Skills, and Abilities-Because of the critical and sensitive nature of an
                                                                                                                 investigator's position, investigative agencies should ensure that all investigators,
Character-Each investigator must possess and maintain the highest standards of                                   commensurate with grade level, possess the requisite knowledge, skills, and abilities
conduct and ethics, including unimpeachable honesty and integrity. Every citizen is                              summarized below to fulfill their responsibilities.
entitled to have confidence in the integrity of Government employees, particularly
investigators who routinely access sensitive information and execute search and arrest                              1. A knowledge of theories, principles, practices, and techniques of investigation
warrants. Further, investigative personnel may be subject to statutory and legal                                       and the education, ability, and experience to apply such knowledge to the type of
requirements relating to integrity (Giglio, Lautenberg, Brady, 1 etc.). Consequently, OIGs                             investigation being conducted;
should establish sound hiring policies to adequately screen applicants for investigative                            2. A knowledge of government organizations; programs; activities; functions; and,
positions. Processes to consider include, but are not limited to, criminal history checks,                             where applicable, their interrelations with the private sector;
queries of commercially available databases, drug testing, personal interviews, previous                            3. A knowledge of applicable laws, rules, and regulations, including the U.S.
employment and reference checks, and background investigations. 2                                                      Constitution; the U.S. Criminal Code (including elements of crimes); the Federal
                                                                                                                       Rules of Evidence; the Federal Rules of Criminal Procedure; and other pertinent
OIGs should also have policies that require investigative personnel to report any arrest,                              statutes, such as the Privacy, Freedom of Information, and Whistleblower
conviction, or other potential misconduct issue that would jeopardize their performance                                Protection Acts;
of duties. Such policies may also include requiring investigative personnel to be subject                           4. An ability to exercise tact, initiative, ingenuity, resourcefulness, and judgment in
to periodic criminal history and background checks.                                                                    collecting and analyzing facts, evidence, and other pertinent data; apply sound
                                                                                                                       deductive reasoning; and deliver oral and written reports;
Physical Capabilities-Each investigative organization should develop job related                                    5. An ability to safely and effectively carry out law enforcement powers, where
physical or medical requirements consistent with current statutes, regulations, and                                    duly authorized, including carrying firearms, applying for and executing search
                                                                                                                       warrants, serving subpoenas, and making arrests; and
1 See Giglio v. Umted States, 405 U.S. ISO (1972); Lautenberg Amendment, 18 USC Section 922(g)(9); and Brady        6. The skills necessary for the investigation. This qualification standard
v.Maryland(l963) 373 U S. 83.                                                                                          recognizes that proper training is required to meet the need for the broad range
2 The Office of Personnel Management (OPM) categorizes background investigations as National Agency Checks
                                                                                                                       of special knowledge and skills necessary to conduct investigations. This
with Inquiries (NACI); Moderate Risk Background Investigation (MB!); Background Investigation (BJ), and Single
Scope Background Investigation (SSBI) Please refer to OPM for further guidance.                                        training should include both formal classroom and on-the job training. The
                                                                                                                        qualifications listed below apply to the skills of an investigative organization as




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      a whole and not necessarily to every individual investigator. Skills required to       periodic training is justified and the corrective actions taken when failure was not
      conduct an investigation include the ability to:                                       justified. OIG policies should require the surrender of a firearm or suspension of law
                                                                                             enforcement authority if the failure reaches an unacceptable level.
          a)   Obtain information from people;
          b)   Analyze and understand documentary evidence;                                  OIGs must implement an inventory control system for firearms and related equipment,
          c)   Understand witness confidentiality and "whistleblower" concepts;              law enforcement credentials/identification, and specialized technical equipment.
          d)   Analyze and evaluate facts; make sound and objective assessments and
               observations; and, where appropriate, make constructive                       Periodic Training Requirements OIGs should also periodically train criminal
               recommendations;                                                              investigators on effective and appropriate use of force and constitutional law and other
          e)   Use computer equipment, software, and related systems effectively in          topics articulated in the Attorney General Guidelines or other authoritative guidelines.
               support of the investigative process;                                         Additional topics to consider are new laws and court decisions affecting operations;
          f)   Deliver clear, concise, accurate, and factual summaries of results of         technological improvements; and any changes in agency and national level policies,
               investigations, both orally and in writing;                                   procedures, rules, and regulations (e.g., Transportation Security Administration (TSA)
          g)   Prepare and obtain signed, sworn statements; and                              training on "flying while armed").
          h)   Use appropriate and authorized specialized investigative techniques.
                                                                                             All post basic training should be part of a systematic, progressive, and documented plan
Criminal Investigator Entry-Level Training      All OIG investigators who exercise law       to maintain the requisite knowledge, skills, and abilities. OIGs deliver such training
enforcement powers (authorized by the Inspector General Act (IG Act), section 6(c), and      depending on the organization's needs and mission requirements. The frequency and
implemented by the Attorney General Guidelines for Offices of Inspector General, US          nature of such training may be adjusted depending on whether the investigator is in a
Marshals Service deputation, or other with statutory authority) must successfully            primary or secondary position.
complete a formal basic training course, such as the Criminal Investigator Training
Program at the Federal Law Enforcement Training Center. As an alternative, this              OIG policies should determine the frequency of, and ensure compliance with, its
training requirement may be satisfied by completion of a comparable course of                recurring and periodic training, which, absent unique circumstances, should not exceed
instruction.                                                                                 3 years.

In addition, OIG investigators exercising law enforcement powers should attend a formal      Professional Development The training of an investigator should be a continuing
OIG specific follow on training program, such as the Inspector General Investigator          process. An investigator should receive formal and on-the-job exposure prior to an
Training Program at the Inspector General Investigator Academy (IGCIA), or equivalent,       assignment requiring independent application of a given subject matter. A continuous
or in case of experienced criminal investigators hired from Federal law enforcement          career development program should be established to provide the proper preparation,
agencies outside the IG community, the IG Transitional Training Program at the IGCIA         training, and guidance to develop into professionally qualified investigators and
or equivalent.                                                                               supervisors.

Each agency should also provide orientation training (formal or informal) specifically       To facilitate this effort, the investigative agency should develop a training profile that will
relating to the agency's mission, programs, policies, procedure, rules, and regulations.     satisfy its needs and consider a mentoring program. (See Appendix B, "Training Profile
Agencies may also consider in service training covering similar topics, as best suits the    Illustration.")
agency's requirements and the investigator's experience. (See Appendix A, "Job Task
Illustration for Investigators.")
                                                                                             B. INDEPENDENCE
Firearms Qualification     OIGs must ensure that all criminal investigators authorized to
carry a firearm train and qualify regularly, as defined by the Attorney General Guidelines   The second general standard for investigative organizations is:
or other authoritative guidelines.
                                                                                                    In all matters relating to investigative work, the investigative organization must
The agency must develop a policy that ensures compliance with regular firearms                      be free, both in fact and appearance, from impairments to independence; must
qualification. Such policy should address occasions when failure to qualify or attend               be organizationally independent; and must maintain an independent attitude.



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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA


 SECURITIES AND EXCHANGE COMMISSION,

                                     Plaintiff,
                                                             Case 4:19-cv-00420
                           v.

 CAMBRIDGE CAPITAL GROUP ADVISORS,
 LLC, et al.,

                                     Defendants.


         FINAL JUDGMENT AS TO DEFENDANT DON WARNER REINHARD

       The Securities and Exchange Commission having filed a Complaint and Defendant Don

Warner Reinhard having entered a general appearance; consented to the Court’s jurisdiction over

Defendant and the subject matter of this action; consented to entry of this Final Judgment without

admitting or denying the allegations of the Complaint (except as to jurisdiction and except as

otherwise provided herein in paragraph VIII); waived findings of fact and conclusions of law; and

waived any right to appeal from this Final Judgment:

                                                  I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of

interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:

       (a)     to employ any device, scheme, or artifice to defraud;
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       (b)     to make any untrue statement of a material fact or to omit to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

       (c)     to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person,

by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any client or

prospective client, or (ii) disseminating false or misleading documents, materials, or information

or making, either orally or in writing, any false or misleading statement in any communication

with any client or prospective client, about:

       (A) any investment strategy or investment in securities,

       (B) the prospects for success of any product or company,

       (C) the use of client funds,

       (D) compensation to any person,

       (E) Defendant’s qualifications to advise clients; or

       (F) the misappropriation of client funds or investment proceeds.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal

Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive

actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or participation

with Defendant or with anyone described in (a).


                                                II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933


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(“Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any means

or instruments of transportation or communication in interstate commerce or by use of the mails,

directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements

                made, in light of the circumstances under which they were made, not misleading;

                or

        (c)     to engage in any transaction, practice, or course of business which operates or

would operate as a fraud or deceit upon the purchaser,

by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any client or

prospective client, or (ii) disseminating false or misleading documents, materials, or information

or making, either orally or in writing, any false or misleading statement in any communication

with any client or prospective client, about:

        (A) any investment strategy or investment in securities,

        (B) the prospects for success of any product or company,

        (C) the use of client funds,

        (D) compensation to any person,

        (E) Defendant’s qualifications to advise clients; or

        (F) the misappropriation of client funds or investment proceeds.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal

Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive

actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s officers,



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agents, servants, employees, and attorneys; and (b) other persons in active concert or participation

with Defendant or with anyone described in (a).

                                                III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly, Sections 206(1) and

206(2) of the Investment Advisers Act of 1940 (“Advisers Act”) [15 U.S.C. §§ 80b-6(1) and 80b-

6(2)], by using the mails or any means or instrumentality of interstate commerce:

       (a)     to employ any device, scheme, or artifice to defraud any client or prospective client;

or

       (b)     to engage in any transaction, practice, or course of business which operates as a

fraud or deceit upon any client or prospective client,

by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any client or

prospective client, or (ii) disseminating false or misleading documents, materials, or information

or making, either orally or in writing, any false or misleading statement in any communication

with any client or prospective client, about:

       (A) any investment strategy or investment in securities,

       (B) the prospects for success of any product or company,

       (C) the use of client funds,

       (D) compensation to any person,

       (E) Defendant’s qualifications to advise clients; or

       (F) the misappropriation of client funds or investment proceeds.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided

in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who



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receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or participation

with Defendant or with anyone described in (a).

                                                  IV.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly, Section 206(4) of the

Advisers Act [15 U.S.C. § 80b-6(4)] and Rule 206(4)-8(a) thereunder [17 C.F.R. § 275.206(4)-

8(a)], by using the mails or any means or instrumentality of interstate commerce, while engaged

in the business of advising a pooled investment vehicle for compensation as to the advisability of

investing in, purchasing or selling securities:

       (a)     to make any untrue statement of a material fact or omit to state a material fact

               necessary to make the statements made, in the light of the circumstances under

               which they were made, not misleading, to any investor or prospective investor in a

               pooled investment vehicle, or

       (b)     otherwise engage in any act, practice, or course of business that is fraudulent,

               deceptive, or manipulative, with respect to any investor or prospective investor in

               a pooled investment vehicle, by

by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any client or

prospective client, or (ii) disseminating false or misleading documents, materials, or information

or making, either orally or in writing, any false or misleading statement in any communication

with any client or prospective client, about:

       (A) any investment strategy or investment in securities,

       (B) the prospects for success of any product or company,



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       (C) the use of client funds,

       (D) compensation to any person,

       (E) Defendant’s qualifications to advise clients; or

       (F) the misappropriation of client funds or investment proceeds.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided

in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or participation

with Defendant or with anyone described in (a).

                                                V.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 203(f) of the Advisers Act [15

U.S.C. § 80b-3(f)] by willfully becoming, or being associated with, an investment adviser in

contravention of the Commission’s Order barring Reinhard from affiliation with any broker,

dealer, or investment adviser, in In the Matter of Don Warner Reinhard, Securities Exchange Act

of 1934 Rel. No. 63720, Investment Advisers Act of 1940 Rel. No. 3139, Admin. Proc. File No.

3-13280 (January 14, 2011).

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided

in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or participation

with Defendant or with anyone described in (a).




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                                                 VI.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

shall pay disgorgement of ill-gotten gains and prejudgment interest thereon; that the amounts of

the disgorgement and civil penalty shall be determined by the Court upon motion of the

Commission; and that prejudgment interest shall be calculated from August 29, 2019, based on the

rate of interest used by the Internal Revenue Service for the underpayment of federal income tax

as set forth in 26 U.S.C. § 6621(a)(2). Upon motion of the Commission, the Court shall determine

whether a civil penalty pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)], Section

209(e) of the Advisers Act [15 U.S.C. § 80b-9(e)], and/or Section 21(d)(3) of the Exchange Act

[15 U.S.C. § 78u(d)(3)] is appropriate and, if so, the amount of the penalty. In connection with

the Commission’s motion for disgorgement and/or civil penalties, and at any hearing held on such

a motion: (a) Defendant will be precluded from arguing that he did not violate the federal securities

laws as alleged in the Complaint; (b) Defendant may not challenge the validity of the Consent or

this Final Judgment; (c) solely for the purposes of such motion, the allegations of the Complaint

shall be accepted as and deemed as true.

                                                VII.


       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.


                                               VIII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the



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allegations in the complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation of the federal securities laws

or any regulation or order issued under such laws, as set forth in Section 523(a)(19) of the

Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                                 IX.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.


                                                 X.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.


       SO ORDERED on March 8, 2021.

                                               s/Robert L. Hinkle
                                               United States District Judge




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     Margaret "Peggy" Harris v. Phillip Timothy Howard, TFB File No. 2019-00,088(2A);
          Phillip Timothy Howard v. Jonathan B. Harris, TFB File No. 2019-70,042(11J);
               Jonathan B. Harris v. Phillip Timothy Howard, TFB 2018-00,342(2A).

       In a sworn and videotaped deposition of Margaret "Peggy" Harris ("Peggy Harris") taken
in Margaret Harris, et al., v. RJR, et al., Case No. 2014-CA-337 (Fla. 2nd Cir), taken on
February 13, 2020, Peggy Harris documents the fallacious, fraudulent and intentionally
criminally perjurious Bar complaint submitted under oath and penalty ofperjury, that Jonathan
B. Harris wrote for Peggy Harris, which she never read. This is consistent with the Responses to
these Bar Complaints previously filed with sworn testimony attached on August 22, 23 and 28,
2018. Peggy Harris admits that her Bar Complaint is fraudulent and her counsel raised her 5th
Amendment rights: 1

         Q And so when this was filed back in 2019, April of2019 you had not read the
         Bar complaint at that time?
         A Correct.
         Q And you would have not been able to tell your lawyers whether -- what was in
         the Bar complaint was true and correct or contained false statements because you
         hadn't read it?
         A Correct.
         0 And we now know that it contains statements that you believe to be false?
         MR. DIAZ: Form.
         BY MR. MONDE:
         0 Correct?
         A Correct.
         0 Statements that you believe to be fraudulent, correct?
         MR. DIAZ: Form.
         THE WITNESS: Correct.

Condensed Transcripts attached as Cumulative Exhibit A. The Margaret "Peggy" Harris'
Inquiry/Complaint under PART FIVE, is submitted with following statement:

"Under penalties of perjury, I declare that the foregoing facts are true, correct and
complete." Signed by Margaret "Peggy" Harris, on 7-8-18.

This is an official proceeding under Florida Bar rules and regulations, and based on the language,
type set, legal research, attached documents, prior threats to extort, consistency in his attacks in
two other bar complaints, and as verified in the deposition of Peggy Harris taken on February 13,
2020, and attached hereto, was prepared and written under the sole guidance, control and
direction ofFlorida attorney, Mr. J.B. Harris.


I MR. ANDERSON: Okay. Well, I'm going to respectfully disagree with you. And to the extent you ask her about her testimony
related to her errata sheets, I'm going to have to instruct her not to answer on the grounds that she could be incriminating
herself.
MR. MONDE: Then have her take the Fifth.




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Under section 837.02(1), Fla. Stat., when perjury takes place in an official proceeding, such as in
a Florida Bar complaint, the criminal offense of perjury is a third-degree felony punishable by
up to 5 years in prison and a $5,000 fine. If this complaint is considered an unofficial proceeding,
perjury would be considered a misdemeanor of the first degree, punishable by up to one (1) year
in jail, (1) year of probation, and $1,000 in fines. Finally, if this Bar Complaint is considered
before a public servant in the performance of his or her official duty, perjury would be a
misdemeanor of the second degree under section 83 7.06, Fla. Stat.

Unfortunately for Mrs. Peggy Harris in acceding to Mr. J.B. Harris' agenda and writings, has
sworn to this bar complaint under penalties of perjury and verified her violation of the law and
her oath.2

As found repeatedly in the Deposition transcript attached to this response, with three attorneys
representing Peggy Harris, there is undisputed evidence of multiple instances of perjury and
criminal violations under section 867.02(1), Fla. Stat. These also violates section 837.021(1),
Fla., Stat., since there are two or more material statements in official proceeding under oath that
contradict each other and constitute a second-degree felony.

Moreover, there are numerous bar violations for presenting false evidence. Under rule 4-1.2(d),
"A lawyer shall not counsel a client to engage, or assist a client, in conduct the lawyer
knows or reasonably should know is criminal or fraudulent." See Florida Bar Ethics Opinion
75-19. It is also a bar violation to offer evidence that the lawyer knows to be false and should
disclose that the evidence is false to the tribunal. Rule 4-3.3 (b). It is indisputable that Mr. J.B.
Harris authored and prepared the entire bar complaint and is using Mrs. Peggy Harris, who never
read the Bar Complaint, as a front and tool for his own extortionate and denigrating agendas.

In that instance, he has violated Rule 4-3.3(a)(l), (2), and (4), which require candor toward the
tribunal, and has made a false statement, and has failed to correct or disclose a false statement of
material fact or offered evidence that the lawyer knows to be false. In addition, Mr. J.B. Harris
must report and disclose that he authored this fraudulent Peggy Harris Bar Complaint.

J.B. Harris, and has written similar fraudulent Bar Complaints for himself and Kim Poling in a
pattern of scandalous false statements. This is an abject abuse of the Florida Bar and a gross
manipulation of the Florida Bar processes and fraud for monetary gain that cannot stand nor
tolerated. To do otherwise, decimates the ethical and moral legitimacy of the institution of the
Florida Bar, and our court system alike.

          BAR COMPLAINTS CONTAIN NUMEROUS FALSE AND FRADULENT
         STATEMENTS FROM J.B. HARRIS THAT CLIENT DID NOT READ NOR
           AUTHORIZE AND BOTH ARE SUBJECT TO CRIMINAL PERJURY

2 The exhibits attached to this 7-8-18 sworn statement are dated 7/30/18, 7/10/18, 7/30/18, 7/30/18, and 7/30/18, respectively.
See Exhibit A, Exhibit D, Exhibit E, and Exhibit F to the August 21, 2018 Response. They are all printed from Mr. J.B.
Harris' gmail account, jbharrisesg@gmail.com, on July 31, 2018, July 30. 2018, and August 32 2018. These emails are not
from Mrs. Peggy Harris. While these exhibits do not constitute a bar violation, they are material to Mrs. Peggy Harris' (Mr.
J.B. Harris') claim of such a violation. In her February 13, 2020 Deposition Peggy Harris admits to fraud and perjury by both her
and J.B. Harris.




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    COMPLAINANT DID NOT READ BAR COMPLAINT BEFORE OR AFTER FILING

In her deposition taken February 13, 2020, Margaret Peggy Harris, stated under oath that she
"signed the Bar complaint without reading it," and that everything in the Bar complaint




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 "statement is not true and correct" and contains statements that are "fraudulent. "3 In
 response, J.B. Harris now states that Peggy Harris "maligned him" by telling the truth.4

3 From Pages 23-31:

Q. Is it your belief that if the Florida Bar had any written communications about your Bar complaint that J.B. Harris would have
them?
A. I would think so. He's the one that handled it exclusively.

Q. All right. So it's fair to say that you had no changes to make to the Bar complaint that you signed before you signed it?
A. Well, I didn't read it. I did not read it-read the complaint.
O. You are saying that you signed the Bar complaint without reading it?
A. Correct. I know that's-that is my fault. I'm sorry that I didn't read it.

Q. Part five says that, "Signature: Under penalty of perjury, I declare that the foregoing facts are true, correct and complete."
Do you see that?
A. ldo.
Q, And then your name is printed, correct?
A. Correct.
Q. And then you signed your name, correct?
A. Correct.
Q, You understood when you signed this that you were under the penalty of perjury declaring the facts and statements to
be true, correct and complete?
A. Correct.
Q, There is no doubt in your mind about what you were signing, correct?
A. Apparently not-apparently so.
Q. Well I want to understand your answer.
A. Well, 1-1 did not read it, so I was wrong in not-putting this down, so--
Q. And I appreciate you're acknowledging that that was wrong. And I want to understand from you why you agree that
that was wrong to do.
A. Correct.
Q, -Just like the oath you took this morning?
A. Right.
Q, And you understand the importance of an oath in a legal proceeding, correct?
A. Yes.

Q. Have you had the opportunity to review the statement that is part of your Bar complaint after you signed it?
A. Yes.
Q, When did you first do that, ma'am?
A. Just a few days ago.

O. Based on your reading, is everything in the statement true and correct?
A. No, not really. Not-its not what I discussed.

O. You mentioned that the first time you read the Bar complaint that you signed under oath was a few days ago in the
comfort of your home, correct?
A. Correct.
O. So to be clear, you had never read the Bar complaint that you had signed last year, for example, in April of 2019,
correct?
A. Correct.

0 Are you curious where J.B. Harris came up with all this information?
A Yes. Um-hum.
Q Now let's go back to page eight. How do you feel about J.B. Harris, now that you had a chance to read this in the
comfort of your home, no pressure, you read it two or three times, you let some time pass between reading so that, to use
your words, you could digest it?What do you think now that you read it?
A I'm disappointed.
OWhy?
A Because not everything is factual.
QWhy does that disappoint you?
A Well, you expect your lawyer to be helpful to you and do it correctly.




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Peggy Harris also understands what perjury means and the criminal nature of perjury, stating in
response to the following:

"Q You understand what perjury means, right? A Yes. Q You understand the penalties for
perjury? A Yes. Q You understand that in some context perjury can be a criminal
offense? A Um-hum. 0 Yes. A Yes."

  DOCUMENTED FALSE STATEMENTS FROM J.B. HARRIS THAT HOWARD HAD NO
                     TOBACCO TRIAL EXPERIENCE

J.B. Harris falsely states that Howard knew nothing about tobacco pretrial preparation and failed
to adequately prepare Richard for his testimony. 5 This is despite the fact that the main source of

Q Does it trouble you to learn that your lawyer has not been factual?
A Correct.
Q Does it trouble you -­
MR. DIAZ: Form.
BY MR.MONDE:
Q -- that your lawyer has not --It's just an objection for the judge. Does it trouble you that your lawyer, J.B. Harris in
your view has not been factual in connection with a statement that he had you sign?
MR. DIAZ: Form.
MR. ANDERSON: Form.
BY MR.MONDE:
QMa'am?
A I can answer?
MR. ANDERSON: Yes, ma'am.
THE WITNESS: Yes.

Q Now, Ms. Harris, having now before today looked at the Florida Bar complaint from cover to cover, are there things or
claims, allegations in that Bar complaint that do not come from Peggy Harris?
A Correct.
Q Okay. And is it fair to say that wherever J. B. Harris might have gotten the information that you don't subscribe to,
you're not aware of, or that you may not agree with, okay, that you don't know what source Mr. Harris had for that part
or those insertions in the Florida Bar complaint?
MR.MONDE: Objection to form.
THE WITNESS: Correct.
BYMR.DIAZ:
Q Okay. And you don't know ifhe got some of his information from you and some from Jaakan Williams, correct?
A Correct.

Q I clearly understood you to tell me this morning that you had not read the Bar complaint before you signed it and that you
regretted that. And I'm unclear whether I heard you say something different in response toMr. Diaz. And the fact ofthe matter is
that the transcript, which is just in rough form right now, doesn't help clarify that. So I've just got to ask you: Did you read any
part of that Bar complaint before you signed it?
A No.
Q Thank you, ma'am.

4 MR. [J.B.] HARRIS: No. I want to go on the record right now. I was noticed for the deposition.I was given a call-in number.
I'mMrs. Harris lawyer. I sat here and listened to her malign me. And you asked inappropriate questions.I am entitled to
object. I am entitled to object on my own behalf.

5 Q. The next paragraph reads as follows: "Knowing nothing about pretrial preparation for an Engle-progeny case,
Howard failed to adequately prepare Richard for his testimony." Is that true, correct and complete statement?
A. I would say no.
Q. Why do you say that?
A. Tim didn't do a lot with it. He had people under him that did that.
Q. Did Tim Howard play any role whatsoever in preparing your husband for his deposition prior to June 20, 2016, the frst day?



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evidence for a $10 million verdict was the trial preservation testimony completely directed and
conducted by Dr. Tim Howard. See Howard v. RJR, Case No. 1D19-2123 (Fla. 1st DCA), Initial
Brief, and extensive citations to the record, and the "but for" his trial testimony preservation
work there would be no $10 million verdict. Peggy Harris verifies that she did not know this
information, and relied on other lawyers, namely J.B. Harris, who provided the false information
that Howard had not tried a tobacco trial. The claim of no tobacco trial experience is patently
false as Jaakan Williams, as an attorney for the firm, had worked with Howard for some weeks
during the 7-week Sermons v. RJR trial, In fact, Howard had to conduct the deposition clean up
from Jaakan Williams' first day, and trial preservation testimony that was solely done by
Howard in the Harris v. RJR action, while the 7-week Sermons v. RJR trial in Jacksonville,
Florida was taking place. Thus, he could not have provided any claim that Howard had no
tobacco trial experience as this was a non sequitur. 6

   DOCUMENTED FALSE STATEMENT THAT RICHARD HARRIS WAS IN PAIN AND
      COULDN'T TESTIFY OR PROVIDE CORRECTIONS TO HIS DEPOSITIONS

J.B. Harris places false statements that the decedent Richard Harris was in pain and couldn't


A. Some, but not all.
Q. So the statement in your Bar complaint that reads, "Knowing nothing about pretrial preparations for an Engle-progeny case,
Howard failed to adequately prepare Richard for his testimony," you are telling us know that this is a falsehood, that that's a
misrepresentation, correct?
THE WITNESS: I would say that's done by J.B. Harris.

Q If you read the end sentence of that paragraph, it says, quote, "Nevertheless, the trial
had to be continued because defense counsel needed more time to review the tissue samples from the autopsy." That is a
statement that would not have been sourced from you, correct? Would you have known that?
ANo.
MR. MONDE: Objection.
BY MR.DIAZ:
Q Or Mr. Harris got that from some other source?
A I would believe that.
Q But not you?
A Correct.

6 Q. The next part of the sentence, let's focus on that. "He wasn't competent because," quote, "he had never tried one in the past
and has not until this day." Is that true and c01Tect and complete, to the best of your knowledge?
A. Yes.
Q. What is your source of information for that?
A. Other people, other lawyers, I guess I would say.
Q. In other words, other lawyers have told you that Tim Howard has never tried a tobacco case?
A. Right. Because I wouldn't know that otherwise.
Q. Right. What other lawyers?
A. I imagine J.B.
Q. Anyone else?
A. Jaakan Williams.
Q. Anyone else?
A. Not that I recall.

Moreover, Howard had done tobacco work since 1993, and worked on the most successful tobacco cases in history, including the
State ofFlorida v.American Tobacco, (1997) ($27 billion recovery for State of Florida) (Howard drafted and fled Complaint for
the State of Florida, defended constitutionality, prepared damages model, covered 61 depositions, etc.; Evans v. Lorillard,
Massachusetts Superior Court (2010) ($180 million verdict) (Howard evaluated action, assisted in trial monitoring and strategy,
appeal, and evidence); In Re: Engle tobacco (M.D. Fla.)($100 million settlement).




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properly address corrections to his deposition. 7 The sworn deposition of Peggy Harris taken
February 13, 2020, is consistent that this is a false statement.

     DOCUMENTED FALSE STATEMENT THAT ERRATA SHEETS WERE FRADULENT,
                 PERJURIOUS AND OBSTRUCTION OF JUSTICE

J.B. Harris next falsely states that the errata sheets to Richard Harris pre-trial deposition were
fabricated.8 Peggy Harris states explicitly and repeatedly that what J.B. Harris wrote was false

7 Q. The next paragraph says the following: "Richard was in so much pain at the time, not only were the depositions torturous,
requiring the attorneys to take a break mid-week to allow Richard a respite," period. That's an incomplete sentence, but it is
what's on your page. Was your husband in pain at the time of the deposition?
A. No.
Q. Ma'am?
A. No.
O. So that's a false statement?
A. Yes, yes it is.

Q. Well, let me ask you this. What is your understanding of why J.B. Harris wrote in this sworn Bar complaint that your husband
was in so much pain?
A. I have no idea.
O. Did you ever tell him that?
A. No.
O. Did you ever suggest it to him?
A. No.
O. Do you know of any basis in the world that J.B. Harris had for swearing this        or asking you to swear to it?
A. I do not.

8 Q. Let's take that sentence I read and break it down into a smaller piece. I want to focus on these words: "Following the
depositions. Howard and his associate Ankur Mehta fabricated errata sheets for each transcript, extensively rewriting
Richard's testimony. Just that part, is that true, correct and complete?
A. I cannot say.
Q. Why not?
A. Because I don't know. I don't know if it was fabricated. I don't know. I just don't know.
Q. What does the word fabricated mean to you?
A. Made up, change. So I really don't know.

Q So when you say in your Bar complaint that the errata sheets extensively rewrote your husband's testimony, is that true,
correct and complete?
A. Again, I can't say because I don't know. I don't recall.

O.  Is it accurate to say that whoever was the source of the information for this sentence "fabricated errata sheets,
extensively rewriting testimony," it was not Margaret Peggy Harris?
A. Correct.
Q. So is it true and correct that Howard and Mehta ordered our husband to sign errata sheets?
THE WITNESS: I don't know, because I was in and out. I do not remember that.

A. I don't know.
Q. You say in your statement that not only were the errata sheets fabricated but they were extensively rewritten.
"Specifically following the depositions of Howard and his associate Ankur Mehta fabricated errata sheets for each
transcript extensively rewriting Richard's testimony. Do you see that?
A. Um-hm.
Q. Yes?
A. Yes. I'm sorry. But I don't believe that though. I don't know. I just do not know if they did, because I just don't
know.

O.   You told me how you define fabricated. Do you know whether your husband's errata sheets were fabricated, that is
stated falsehood or were the truth?




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MR. DIAZ: I think the better question, with all due respect is, as you sit here today to you believe that that statement----do you
believe it's accurate because it's pretty obvious that there are things in this complaint that are not sourced from her; ergo,
they were sourced from some other person, or you are suggesting in this case, fraudulent Bar complaint, whatever.

Q. Mrs. Harris, let me ask you to go back up to the prior paragraph and the sentence from your sworn Bar complaint
that says, "Following depositions, Howard and his associate, Ankur fabricated errata sheets for each transcript,
extensively rewriting Richard's testimony." Do you believe that that is true, correct and complete statement?
A. I do not believe that.
Q. In what way to you not believe it?
A. Because I have no clue about what's right and what's wrong or anything about errata sheets.
Q. Do you believe that Howard and Mehta ordered your husband to sign the errata sheets as opposed to giving him the
option ofreviewing them and making changes?
A. I do not know.
O. Did you ever know?
A. No. I still don't know, really.
Q. Do you believe Howard and Mehta not just ordered your husband to sign the fraudulent errata sheets but did so without even
reading to him the changes?
A. I do not know.
Q. Let's take the first part away. Do you believe that your husband signed the errata sheets without even reading the
changes?
A. I do not know.
Q. Do you know anything about the process by which the errata sheets were prepared, whether they were reviewed or
not with your husband before he signed them?
A. No.
Q. Did you ever know that?
A. No.

Q. Okay. Do you know the source of information that J.B. Harris had when he wrote in a statement for you to swear under oath
that Tim Howard and Ankur Mehta ordered your husband to sign the errata sheets?
A. The only other person there was Jaakan Williams.
O. But do you know whether Jaakan Williams Let me ask you this: Did Jaakan Williams ever tell you that Tim
Howard and Ankur Mehta ordered your husband to sign errata sheets?
A. I don't recall.
O. You don't recall him telling you that? No?
A. I don't recall.
O. I'm sorry.
A. I don't recall him telling me that.

O. So to finish up this part, Mrs. Harris, to the extent that J.B. Harris had any source of information that Tim Howard
and Ankur Mehta ordered your husband to sign the errata sheets without even reading them, it didn't come from you?
A. Correct.

Q Okay. The next sentence, "Last, be," referring to Mr. Howard, "suborned perjury with the errata sheets, obstructed
justice and committed a fraud upon the court by attempting to use them in the proceedings." Do you believe that that is
true and accurate?
A I can't -- I don't know, because I don't know what's -- again, we talked previously about the errata sheets. I have no
knowledge of how it works, so I couldn't say.
Q If anyone, Mr. Howard or anyone else, used the errata sheets to create false testimony, to suborn perjury and used them to
obstruct justice or commit a fraud upon the court, would you want any part of that?
ANo.

Q Clarifed it. All right. Whatever adjective we want to put on it, in July you swore to the following: "In discussions with
Richard, our attorneys prepared the errata sheets according to Richard's instructions and reviewed them with Richard. Richard
verified that the errata sheets were consistent with the testimony that he wanted to give." That was your testimony under oath as
ofJuly 6th, 2017, correct?
A Correct.
Q When you said that our attorneys prepared the errata sheets according to Richard's instructions, that was false, wasn't it?
MR. DIAZ: Objection. Form. I'm sorry. Go ahead.
THE WITNESS: No.
BY MR. MONDE:
Q How so?



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 A Well, they were there. They talked with him.

A They did do-- they did-- they did question -- they did question --See, I'm getting all upset now.
MR. DIAZ: I'm sorry. I didn't mean to trigger that.
THE WITNESS: No. Well-- The attorneys talked to my husband. I'm not-- I don't know the term errata sheets, but they
went over his testimony.

Q Okay. I think you said that Jaakan Williams had told you that in his opinion there was some kind ofnefariousness or something
wrong or fraud regarding Richard Harris' errata sheets.Do you remember that testimony?
A Yes.
Q All right. Now, that was Mr. Williams' opinions? Do you know one way or the other whether Mr. Richard Harris'
errata sheets were fraud?
MR. MONDE: Objection.
BY MR.DIAZ:
Q Do you have the ability to even know that one way or the other?
A No.
Q Okay. And you would not know, would you, what reason, if any, Jaakan Williams might have had for his own opinions
and impressions about Mr. Richard Harris' errata sheets, correct?
A No.
Okay. All right. In the middle ofpage 3, the paragraph that starts off with "Howard and Mehta" -- and that's M-E-H-T-A -­
"ordered Richard to sign the fraudulent errata sheets." Just to be clear, that "fraudulent" is not your words and that's not
how you would have written this part of the complaint if this were ever done by you, correct?
MR. MONDE: Objection to form.
THE WITNESS: Correct.

Q Okay. And so you would not know question to question what questions were corrected, clarified, or amplified on. But you do
know, generally speaking, as you sit here today and when you were deposed yourself on the errata sheets of Richard, that
there were meetings between Richard and his lawyers for purposes of preparing what you now know to be called errata
sheets; am I correct?
MR. MONDE: Objection to form.
THE WITNESS: Correct.

Q Yeah. Let me start again. Question, "Do you believe that when your husband signed those errata sheets, that he understood
what he was signing?" And your answer was, "I think -- I would think he would. I wouldn't think he would sign it ifhe didn't."
Right?
A Right.
Q Was that accurate testimony?
A Right.

Q Okay. Then it goes on and it says, "And my question was just a little bit different. Given his health condition at the
time, do you think he understood what he was signing when he signed those errata sheets?" And you said, "I would say
yes," right? Okay? Yes?
A Yes.
Q Right. When you said "I would say yes," you're not certifying 100 percent, but you're saying in your best faith belief at
the time was that he was able to sign, correct?
MR. MONDE: Objection to form.
THE WITNESS: Correct.
BYMR.DIAZ:
Q Yes, ma'am?
MR. MONDE: Same.
THE WITNESS: Yes.

Q Answer, ma'am. Is it fair to say, now that.you refreshed your memory about what your memory was two years ago when you
were asked about Richard signing the errata sheets and the whole exercise ofthe execution/preparation ofthe errata sheets, as
you sit here today, is it fair to say that you are not saying that his errata sheets were forged, you don't know if they were
signed by him or not, correct?
MR. MONDE: Same objections.
IBE WITNESS: Correct.

Q And you were explaining, "Although Richard was having problems with his eyesight, I do remember our attorneys coming
over prior to Richard's deposition and reviewing his deposition testimony from the previous days with him, and making



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and fraudulent in her February 13, 2020 Deposition. As just one example, consider her response
to the following:

         Q Okay. And -- but something different, but similar, but very important, are you
         satisfied today, based on everything that you knew, saw, perceived, watched
         going in and out of the room, that the errata sheets resulted from interchange
         and exchanges between Mr. Harris' attorneys and Mr. Harris?
         A Correct.
         0 Ms. Harris, if that's right, do you know why your lawyers in a pleading
         filed with the court would call those errata sheets the product of fraud that
         constitute the suborning of perjury, the obstruction of justice, and -- what
         else did you call it, Rick?
         MR. DIAZ: I'm not going to be a witness.
         BY MR. MONDE:
         0 There's another phrase. Oh, yeah, and committed a fraud upon the court.
         Do you know why your lawyers would do that?
         A No, I don't.

Id.

In response to and in support of the above-referenced inquiry/complaints, please consider the
following. In support of the second incontrovertible perjury referenced in the August 23, 2018
filing, as is found in the July 8, 2018 sworn Bar complaint allegedly by Mr. Peggy Harris, at
pages 3 and 8, Mr. Jaakan Williams' sworn testimony on April 11, 2018, is in contrast to
numerous sworn statements:

         In an effort to cure whatever perceived shortcomings may have resulted from
         Richard's testimony, following the depositions, Howard and his associate Ankur
         Mehta fabricated errata sheets for each transcript, extensively re-writing Richard's
         testimony.
                 Howard and Mehta ordered Richard to sign the fraudulent errata
         sheets without even reading him the changes. Indeed, Richard was so near
         death at the time, he had no comprehension as to what was happening around
         him, or what he was even signing.

                Jaakan Williams, who was present at Richard's depositions and who
         informed me of Howard's concoction of the fraudulent errata sheets. Mr.
         Williams is a witness in the Bar's investigation of Howard as well.

Id. (emphasis added).

Mr Jaakan Williams in his April 11, 2018 deposition, pages 77-78, 86-90, attached hereto, states:


questions and answers, to the best of your knowledge, were -- was the information in those corrections also truthful?
MR. MONDE: Objection.
THE WITNESS: Correct.




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Q. I'll put it another way. Isn't it the duty of a lawyer to find the facts, find that law that best
represents their client?
A. Agreed.
Q. All right. And if there's errors in the facts, (inaudible) person who's on the verge of death,
that need to be clarified isn't it the lawyer's duty to clarify those facts?
A. I agree.
Q. And if one of the methods of clarifying the facts is an errata sheet, pointing out the precise
language that the deponent said, read that to him as he's dying and then have the clarifying
language read to him as he's dying, until he agrees on that change, isn't that an appropriate way
to clarify the record for this dying deponent?
A. I believe so.

Q. Okay. So, Mr. Williams, during your visits with Mr. Harris and Peggy Harris on Thursday
and Friday, you would cover a lot of the same topics that are in the errata sheets, such as
smoking history, criminal history, military background, employment, addiction. Would
those topics have been covered in your discussions with Richard and Peggy Harris on
Thursday and Friday?
A. We covered a number of topics. Those are the predominant ones we covered.
Q. Okay. Very good. And you would have shared that with counsel or a paralegal on the
case, since that's why you were there, to help them with the case?
A. Yes, I would have shared that.
Q. Okay. Mr. Williams, as far as the language in the errata sheet, did we require Richard to
accept the proposed correction, or did we seek his ascent to make the change?
Q. Could Richard have said, "No, that's not a correct change?"
A. He could have, I would imagine.
Q. Right, and so and Richard was lucid enough to say, "Well, no I (inaudible) with that
change," and we would have crossed it out, our handwritten changes, if that's what Richard
wanted to do?
THE WITNESS. I imagine he would have. He was he was coherent that morning.
Q. He had no problems expressing his viewpoint, regardless of how people felt about it?
A Yes.
Q. So we did not require Richard to agree to this errata sheet, did we?
Q. And Richard could have said, "No, that's not correct"?
A. Yes, he could have, if he wanted to, I imagine.
Q. Right, and Richard's the kind of person that would have no problem telling you that's
not correct?
THE WITNESS. From what I remember, yes.
Q. Okay. So, as far as your perspective on observing this process, wasn't the errata sheet
something that Richard was aware of, understood, and approved to change his testimony
from the discovery deposition?
THE WITNESS. If you're asking me if he agreed to the changes, yes, he agreed to the
changes.
Q. And these changes were after that portion of the transcripts were read to him­
A. Yes, they were read to him.




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Id. (emphasis added). This sworn statement says, "he was coherent that morning," "he agreed to
the changes," and "they were read to him." Id.

This sworn statement on April 11, 2018, and Peggy Harris' sworn testimony on February 13,
2020, attached hereto, is not consistent with Mrs. Peggy Harris' the July 7, 2018 sworn statement
before the Florida Bar, and in contrast to the perjurious Bar Complaint prepared by J.B. Harris
and signed by Peggy Harris:

                Howard and Mehta ordered Richard to sign the fraudulent errata
         sheets without even reading him the changes. Indeed, Richard was so near
         death at the time, he had no comprehension as to what was happening around
         him, or what he was even signing.

                Jaakan Williams, who was present at Richard's depositions and who
         informed me of Howard's concoction of the fraudulent errata sheets. Mr.
         Williams is a witness in the Bar's investigation of Howard as well.

Moreover, Mrs. Peggy Harris, consistent with the facts above, was prepared for her sworn
deposition testimony by attorney Jaakan Williams 9 and current Bar attorney Adriannette
Williams. They would have coordinated the review of her May 23, 2017 deposition and would
have coordinated the preparation of her errata sheets after Peggy Harris' review of her deposition
transcript. Mrs. Peggy Harris states under oath:

Q. Okay. And so I asked you before the break whether you were aware, whether you knew
whether your husband reviewed the deposition that I took of him, which was a multi-hundred­
page transcript. Did he review that?
A. I believe he did, but he couldn't see it, but it was read to him.
Q. Okay. Who read it to him?
A. One of the attorneys.
Q. How long did it take?
A. A while. They came in early, yeah.
Q. They came in early the morning of June 25th?
A. I don't remember the morning, but they came in early to do it.

Q. Okay. Do you remember anything about the circumstances of what was read to him?
A. No.
Q. Do you know one way or the other whether that deposition was read to him from­
A. I believe it was.
Q. - start to finish?
A. I believe it was.

Q. Do you know whether he actually told the lawyers whether he had changes to make to

9 Moreover, Mr. Jaakan Williams did not say the errata sheets were "Howard's concoction ofthe fraudulent errata
sheets." Ifhe did say such a thing, he would be contradicting not only his own sworn testimony. he would be
contradicting his deposition preparation ofMrs. Peggy Harris and his work with Mrs. Peggy Harris in her review ofher
deposition transcripts and in preparing and coordinating her errata sheets to her deposition. He would be leading Mrs.
Peggy Harris into a perjurious trap, which in the Respondent's experience it is unlikely that Jaakan Williams would do.



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his deposition? Did he actually tell them that?
A. I believe he did.
Q. How did he do that?
A. Verbally, I would think. But I'm not I shouldn't say, because I'm not sure.

Q. Do you believe that when your husband signed those errata sheets, that he understood
what he was signing?
A. I would think he would. I wouldn't think he would sign if he didn't.
Q. And my question was just a little bit different. Given his health condition at the time,
do you think he understood what he was signing when he signed those errata sheets?
A. I would say yes.
Q. Okay. So is the answer that you're not sure whether he knew what he was signing?
A. Again, I wouldn't think he would sign unless he knew what he was signing.
Q. Were you in the room when he signed them?
A. I don't-yeah, I think I was.

Q. After his deposition, after I had the opportunity to ask him questions, did Mr. Harris
ever say to you that he had changes that he wanted to make to his testimony?
A. I believe he did.

Id (emphasis added).

Moreover, in response to the deposition reviews, Mr. Richard Harris and Mrs. Peggy Harris were
both read the relevant portion of their transcripts and under oath made corrections to their
transcripts. This was confirmed by Mr. Richard Harris and reconfirmed by Mrs. Peggy Harris,
wherein she repeatedly states under "penalties of perjury" in errata sheets after reviewing her
testimony and providing corrections that "I do remember our attorneys coming over prior to
Richard's deposition and reviewing his deposition testimony from the previous days with
him, and making sure that the testimony he had given, and making all the corrections that
Richard suggested." 10 See relevant portions of transcripts attached to the August 22, 2018
response. Neither Mr. Richard Harris nor Mrs. Peggy Harris were ordered to sign the errata
sheets, and they were reviewed and read by or to both of them by either associate or senior
counsel before they signed the errata sheets.

Since Mrs. Peggy Harris states in the July 8, 2018 Bar Complaint under oath the opposite of
what she contemporaneously stated and provided under oath on May 23, July 6, 2017, and
February 13, 2020, and the opposite of what Jaakan Williams stated in his sworn deposition on
April 11, 2018, either she is committing perjury in May 23 and July 6 of 2017, or on July 8 of

10 In her sworn July 6, 2017 errata sheets, under penalty of perjury, Mrs. Peggy Harris states, "Our
attorneys did review Richard's depo transcripts with him each day, and Richard clarified his
answers and the changes he wanted made to the transcript." She also states, "In discussions with
Richard, our attorneys prepared the errata sheets according to Richard's instructions and reviewed
them with Richard. Richard verified that the errata sheets were consistent with the testimony he
wanted to give." Finally, she states, "Richard knew exactly what he was signing because our
attorneys reviewed the depo transcripts and errata sheets with Richard before he signed them, and
Richard verified that the errata sheets were consistent with the testimony he wanted to give."



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2018. These incongruent statements cannot be true and honest. Peggy Harris has chosen that the
Bar Complaint written and prepared by J.B. Harris and not read by Peggy Harris until Februay of
2020, is the false and fraudulent statement, not the depositions.

   BAR COMPLAINT FULL OF FALSE STATEMENTS CLIENT DID NOT APPROVE OR
                                 STATE

J.B. Harris placed incendiary statements that the client did not approve or state.11 This is
repeatedly verified in her February 13, 2020 Deposition. This is either perjury by J.B. Harris or
by Peggy Harris and both violate the law.

 BAR COMPLAINT CONTAINS A PHANTOM CLAIM OF A CHARGE FOR $10,000 THAT
  IS NOT SUBSTANTIATED BY ANY DOCUMENT AND THAT CIENT IS UNSURE OF

The phantom claim 12 that there was a charge to the client for $10,000 for trial housing, a charge

11 Q. Okay. When you signed the statement under oath, did you think that the statements written refected J.B. Harris' beliefs?
THE WITNESS: I would say some ofit. Some ofit.
Q. Well, would you have signed the Bar complaint if you had any question about whether the statements reflected J.B.
Harris' beliefs?
THE WITNESS: I would not have.

A. I told him what I wanted to put on this, and he put more, let me just say it that way.
Q. Did he tell you before he signed that he had gone beyond what you had told him?
A. No.
Q. Is that information you would have wanted to know before you signed under oath?
A. I would have been helpful.
Q. Well, more than helpful, ma'am. Before you signed under oath, would you have wanted to know that J.B. Harris had
put in the statement, your statement, beyond what you had told him?
THE WITNESS: Yes.

Q All right. Let's use Mr. Monde's questions. There are words describing Mr. Howard in the Florida Bar complaint, "dishonest
and duplicitous," right?
A Right.
O Okay. Now, are those words -- before you saw them in the complaint words that you had heard before?
A No.
O Okay. So those were J.B.'s words, not yours?
A Correct.


12 In no shape or fashion is there language documenting or a request for Margaret Peggy Harris to pay $10,000 for the trial
housing. This payment was in the same category as the $12,000 for the pathology opinion. This is a distortion placed into the
mind ofMargaret Peggy Harris by her counsel and placed into record. The precise language is found below:

Q May I please get you to go back to Exhibit 3 for a moment. Would you tum to page four. The Bar complaint says that, "In
anticipation oftrial, Howard paid $12,000 for the autopsy, and supposedly prepaid $10,000 for the rental ofthe local residence.
Howard then had the audacity to insinuate that I, a woman ofvery meager means, had to pay the combined cost of$22,000." You
believe that to be a false description when it comes to the $12,000 for the autopsy, correct?
A Correct.

Q Okay. And do you know as you sit here today, one way or the other, do you recall any requests or demands or any other
comments or conversations you had with Howard about making the payments, what might happen or what would happen
if you didn't make the payments?
A I don't recall.
Q You don't recall. Okay.

Q Okay. And do you see where he is saying -- let me just read the whole thing for the record. It says, "Dear Peggy. The



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that never existed. This is a grossly dissembled legerdemain by J.B. Harris, who created this non­
existent sophistic mirage. The language of the email that discusses that Howard paid $12,000 for
pathology and $10,000 for trial lodging. This demonstrates the frivolous nature of this claim.
Even Peggy Harris, on February 13, 2020, in her deposition, when pushed as to this allegation,
states as to whether there was such a demand: "I'm just not sure."

    BAR COMPLAINT FALSELY CLAIMS RICHARD HARRIS WAS NOT COHERNT OR
              CAPABLE OF ANSWERING DEPOSITION QUESTIONS

J.B. Harris next falsely states that Richard Harris was not coherent or capable of answering
deposition questions.13 This is refuted by Peggy Harris repeatedly. Thereby again

pathology samples for the pathology opinions that we paid approximately $12,000 for are available, and we can pay the
$500 or let us know whoever is now going to pay the cost. We have prepaid 10,000 for the house near the courthouse to be
use" -- instead of "used," it says "use" -- "for the four-week trial. We can reschedule the trial date if needed." Okay. All
right. "We have paid the $1,000 plus and hired professional probate counsel to handle the probate after the departure of
Jaakan Williams." Do you see that?
A Right.

Q Now that you look at this email today, does it appear to you that when Mr. Howard is suggesting rescheduling the trial date at
the same time when he's asking you for payment, ifyou tie those two things together, would it have been unreasonable for you to
believe that Mr. Howard was insinuating that unless these monies could be paid the trial would have to be continued?
MR. MONDE: Objection to form.
BY MR.DIAZ:
Q Do you follow my question?
A Yeah, I follow your question. I'm just not sure.

There were two Harris probate matters out of the over 110 probate cases filed on behalf of Engle tobacco clients, and we had
Matt Hinson, Esq., certifed probate counsel handling all probate cases. Counsel had taken care of one Harris probate matter, and
thought they were covered. Once we became aware that there was another Harris probate matter, we were prepared to refle as
there is no prejudic'e to the personal representative and these cases are place markers for the wrongful death component of the
Engle tobacco actions. The fear was more ofa problem than the substance of the probate action and this was enhanced by Mr.
Harris, as a retaliatory action in his thinking that Respondent has sought out the Gould sisters and took them from him as clients.

13 Q. The "next near death at the time he had no comprehension as to what was happening around him or what he was
even signing." Do you see that?
A Um-hum.
0 Do you believe that that is true, correct and complete?
A No, I do not.
QWhy not?
A Because he was aware of what was going on, that part of it.
0 Are you saying that based on what you saw and heard, you believe that your husband was aware of what was going on
around him throughout the
A Correct.
0 -- from Monday, June 20th until Sunday June 26th?
A Correct.
Q You sat in the deposition on that Monday, Tuesday and Wednesday when the lawyers for Reynolds were asking questions?
A Correct.
Q Number one, you were there to protect your husband?
A Yes. In case -- any needs he had.
Q Yes, ma'am. And so is it fair to say that you were present in the room throughout the time that your husband was being asked
questions?
A Yes.
Q You might have stepped away during a break. But in terms ofthe actual questioning, you were there the whole time?
A Correct.
Q In those three days, did you ever hear your husband say something that you knew to be untrue?
A Yes.
Q. During those three days oftestimony, June 20th to June 22nd, you did hear some things from your husband that you did not



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demonstrating the fraudulent and perjurious nature of J.B. Harris' putrid extortion tactics and
using the Florida Bar as his extortion tool.

            BAR COMPLAINT FALSELY STATES THAT J.B. HARRIS WAS HIGHLY
                                RECOMMENDED

Next, J.B. Harris falsely states that he was highly recommended, when he was one of two
lawyers that Jaakan Williams knew that did tobacco, and the only reason J.B. Harris was chosen
is that he answered the phone, and the other lawyer did not. He was not highly recommended,
only that he had done some tobacco trials.14

BAR COMPLAINT FALSELY STATES THAT PEGGY HARRIS STATED THAT HOWARD
                  WAS DUPLICITOUS AND DISHONEST

J.B. Harris falsely makes the statement that Peggy Harris signed off on, namely that Howard
was duplicitous, deceptive and dishonest.15 Peggy Harris clarifies that she did not say these

know about before?
A Correct.
Q Different question now.
A Okay.
0 In those three days of testimony, did you ever hear your husband say something that you knew or believed to be false?
ANo.
Q Was there ever a point during the deposition process, and now I'm going to stretch it out from Monday, June 20 all the way to
Sunday, June 26th, was there ever any point where you had some question about whether your husband was able to comprehend
or understand the questions so that he could testify?
A I didn't doubt -- I knew he was alert the whole time.
Q May I please get you to tum to page eight. I want to focus on the frst paragraph. It says the following: Well, I'm so sorry to do
this to you. Did you ever -- Was J.B. Harris present for the deposition of your husband?
A Ugh-ugh.
QNo?
A Didn't know about him. I didn't meet him. I didn't -- Absolutely not.
Q Did you ever tell J.B. Harris in connection with preparing this Bar complaint that your husband had no comprehension as to
what was happening around him or what he was even signing when he signed the errata sheets?

0 Did you ever hear any doctor assess your husband and diagnose him as lacking comprehension -­
ANo.
0 -- during this time period?
ANo.

14 Q So Miss Harris, we need to break down the sentence that I read to you a little bit more. First, you say in your Bar
complaint, "Mr. Harris came highly recommended from attorney Jaakan Williams." Is that the fact?
A I don't know highly would be -- I wouldn't use that word. He recommended him.

Q What did Jaakan Williams tell you in this conversation regarding J.B. Harris?
A He gave me two names for two attorneys. One was in Jacksonville. I tried to call her, I think because she was closer. The
number didn't work. So I called J.B., and that's when we ended up with J.B.
Q What did Mr. Williams tell you about J.B. Harris' qualifications, or anything else? I mean, what did he tell you when he
recommended him?
A I believe he said that he had done some work -
Q J.B. Harris wrote those words without any authorization or permission from you, correct?
A Correct.
Q J.B. Harris wrote those words?
A Correct.

15 Q Let me ask you, please, to turn - page 13, please. The following statement appears in your
sworn statement under oath to the Florida Bar: Quote, "And I know the difference between a donkey and a mule. With




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things.

  J.B. HARRIS WITHHELD INFORMATION THAT HE WAS BEING PAID BY HOWARD.
          AND THIS IS INFORMATION THAT CLIENT WANTED TO KNOW

J.B. Harris intentionally fails to disclose information that the client would want to have known,
namely that Howard is paying $21,000 a month to J.B. Harris to work on Engle tobacco cases,
including Margaret Peggy Harris' case.16 The reality is that Peggy Harris was still hiring Tim
Howard's attorneys when she though she went to J.B. Harris, because he was working for Tim
Howard.

                          PART OF AN EXTORTION SCHEME BY J.B. HARRIS

Mr. J.B. Harris is consistently threatening and extorting, and using perjury, while trying to avoid
accountability. Prior to filing the August 2018 Bar Complaint response, pertaining to health insurance
that this firm pays for Mr. J.B. Harris ofapproximately $2,500 a month, that was understood to be
automatically deducted from the account, and was rectified prior to the firm being aware ofhis threat and
extortion, Mr. J.B. Harris wrote:

"Tim, I suggest you reactivate my insurance today or I will be at your office first thing tomorrow to
spend a little quality time with you. You've placed the lives ofmy children at risk and that won't
stand."

August 21, 2018 email from Mr. J.B. Harris, attached to Bar Complaint Response. As to the merits ofthe
Bar Complaint, consider the following:

This firm has been involved in tobacco litigation since its founding in 1995 and has been counsel on

that said, I have never in my life met anyone as duplicitous, deceptive and dishonest as Howard." Are those your words?
A They are not my words.

Q Right. So to the best of your belief and knowledge it's simply false to say that Mr. Howard extorted you by threatening
not to appear for trial if you would not agree to his demand to pay these costs, correct?
A I do not remember that.

16 Q You are doing fne. Exhibit F, and then I want the next page. There you go. Okay. This is an email from Tim Howard to
someone named Matt. And he says, "She didn't respond to me. Mr. Harris," referring to J.B. Harris, "has an extensive history of
Bar violations and extortion that I was forced to report. We sent what we had in the fle and I thought that was sufficient at the
time. There's nothing to do on this case for now." When you hired J B. Harris, were you aware that he was in the midst of a
dispute with Tim Howard?
A No, I did not.
Q Were you aware that they were actually lawyers working together under contract -­
A I did not.
Q-- when you hired -- when you fired Tim Howard and hired J.B. Harris?
A Not that I recall.
Q Were you aware when you fired Tim Howard and hired J.B. Harris that Tim Howard was actually paying J.B. Harris' salary?
A No, I did not.
Q Were you aware when you fired Tim Howard and hired J.B. Harris that they had a contract with each other that in cases -­
Engle cases like yours, including yours, that they had a contract that would give Tim Howard a certain percentage of any verdict
obtained or judgment collected?
A Not that I recall.
Q Is that information, ma'am, that you would have wanted to know when you hired J.B. Harris?
MR. DIAZ: Fo1m.
THE WITNESS: Yes.




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numerous tobacco trials and cases, including some of the largest verdicts in the nation Chiles, et al., v.
American Tobacco, et al., (resulted in over $20 billion for the State of Florida); Evans v. Lorillard
(resulted in the largest verdict in the history of Massachusetts for a personal injury case at $150 million
and settled for over $79 million). Pertaining to this particular complaint, the firm was counsel in a 7-
week Jacksonville, Florida trial involving Sermons v. RJR, that took place when the depositions of
Richard Harris were also taking place, due to his imminent demise and the resistance of defendants to
permit him to be deposed earlier. Thus, there was clear capacity to litigate the action, no failure to
disclose, nor was there a solicitation. In fact, former counsel for Richard Harris, the law firm of Lyons &
Farrar, sought this firm out to assist in the prosecution of the case, and Richard Harris chose to drop
former counsel and solely retain this firm. The Lyons & Farrar firm were paid their quantum meruit fees
for representing Richard and Peggy Harris for 9 months, while the Howard & Associates firm has to
pursue an appeal to obtain even their costs back. This is verified in the record of this action.

It is false for Mr. J.B. Harris (since Mrs. Peggy Harris has verified that she had no capacity or knowledge)
to assert that this firm did not know how to prepare a client for a tobacco deposition having done nearly
100 tobacco depositions in the past. The concern was that a junior associate had significant challenges in
the first day of defending Mr. Richard Harris in Defendants' deposition of him, while the senior partner
was in a 7-week tobacco trial in Jacksonville. The firm's senior partner left the tobacco trial for a day to
get the testimony in order and identified the critical issues and reviewed them with the associate and
paralegal assisting with the deposition. The intense reprimand of Jaakan Williams was due to the
significant lapses in legal analysis necessary to protect the interests of the client. While he did not like the
reprimand and discipline, it was necessary to get his attention as it severely threatened justice for Richard
and Peggy Harris. Jaakan Williams may have complained to Peggy Harris about this reprimand as this is
referenced in Peggy Harris' February 13, 2020 deposition, attached hereto. The trial preservation
testimony was organized, focused and covered the materials needed to effectively prosecute Mr. Richard
Harris' case. This work was the core basis for the $10 million recovery for Peggy Harris.

This also involved reviewing portions of the deposition defended by the junior associate. This required
reviewing the testimony at issue, reviewing the language with the client, and obtaining the client's desired
changes through an appropriate errata correction. Rule 1.310 (e), Florida Rules of Civil Procedure,
provides that:

 "any changes in form or substance that the witness wants to make must be listed in writing by the
offer with a statement of the reasons given by the witness for making the changes. The changes
must be attached to the transcript."

Errata sheet clarifications from a deposition transcript are standard procedure for all depositions. This
attempt to make errata sheets nefarious is inconsistent with the Florida Rules of Civil Procedure. Errata
sheets were done for both Mr. Richard Harris and Mrs. Peggy Harris.

In fact, under oath, Mrs. Peggy Harris stated in her May 23, 2017 deposition, pages 332-336, relevant
pages attached to the August 2020 Responses to the Bar Complaint, the following pertaining to the errata
sheets. These statements confirm that the relevant portions of the transcripts were read to him, and that he
knowingly agreed to change the testimony and signed confirming the changes. The February 13, 2020
deposition of Peggy Harris, attached hereto, confirms the same.

Q. Okay. And so I asked you before the break whether you were aware, whether you knew whether your
husband reviewed the deposition that I took of him, which was a multi-hundred-page transcript. Did he
review that?
A. I believe he did, but he couldn't see it, but it was read to him.
Q. Okay. Who read it to him?



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